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 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                       LOS ANGELES DIVISION
11

12 In re                                                Case No. 2:21-bk-16674-ER

13 JINZHENG GROUP (USA) LLC,                            Chapter 11

14                     Debtor.                          DEBTOR’S NOTICE OF MOTION AND
                                                        MOTION TO AUTHORIZE SALE OF
15                                                      REAL PROPERTY LOCATED AT 6840
                                                        DE CELIS PLACE, APT 9, VAN NUYS,
16                                                      CALIFORNIA 91406, FREE AND CLEAR
                                                        OF LIENS; MEMORANDUM OF POINTS
17                                                      AND AUTHORITIES, DECLARATIONS
                                                        OF ZHAO PU YANG, EMMANUEL D.
18                                                      MARGEN, JR., ANALIE E. MARGEN,
                                                        DARREN HUBERT, AND
19                                                      ALPHAMORLAI L. KEBEH, AND
                                                        REQUEST FOR JUDICIAL NOTICE IN
20                                                      SUPPORT THEREOF
21                                                      Date:   October 24, 2022
                                                        Time:   11:00 a.m.
22                                                      Crtrm.: 1568
                                                                255 East Temple Street
23                                                              Los Angeles, California 90012

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 1            TO THE HONORABLE ERNEST M. ROBLES AND INTERESTED PARTIES:

 2            PLEASE TAKE NOTICE THAT on October 24, 2022 at 11:00 a.m., or as soon thereafter

 3 the matter may be heard, in Courtroom 1568 of the United States Bankruptcy Court, 255 E. Temple

 4 Street, Los Angeles, California, Jinzheng Group (USA), LLC, Debtor and Debtor in Possession

 5 (the “Debtor”), will and hereby does move (the “Motion”) the Court under 11 U.S.C. §§ 363(b) and

 6 (f), and Local Bankruptcy Rules 6004-1(c) and 9013-1, for an order authorizing the sale of real

 7 property located at 6840 De Celis Place, Apt. 9, Van Nuys, California 91406, free and clear of liens

 8 and encumbrances. The proposed sale is pursuant to a Purchase and Sale Agreement (the “PSA”),

 9 a copy of which is attached to the Motion as Exhibit “1.”

10            The Motion is made on the following grounds: the Debtor is requesting authority to sell the

11 Property free and clear of liens pursuant to 11 U.S.C. § 363.

12            Pursuant to Local Bankruptcy Rule 6004-1(c), the Debtor provides the following

13 information:

14            A.       The date, time and place of the hearing on the Motion are set forth above.

15            B.       The Debtor has proposed the sale of the Property to Emmanuel D. Margen, Jr. and

16 Analie E. Margen (the “Buyers”), subject to opportunities for overbidding.

17            C.       The property to be sold consists of all of the Debtor’s right, title, and interest in the

18 Property, which is located at 6840 De Celis Place, Apt. 9, Van Nuys, California 91406, bearing

19 Assessor Parcel Number 225-001-043.

20            D.       Any and all contingencies agreed to relating to the sale have been waived, and thus

21 the sale will not be contingent upon any events or conditions other than this Court’s approval and

22 potential overbidding.

23            The Property will be sold for $650,000 (the “Proposed Sale Price”), subject to overbid,
24 in its “as is,” “where is” condition, with no warranty or recourse whatsoever. The Buyers

25 have conducted all due diligence on the Property that the Buyers believe is necessary for the

26 completion of this sale.

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 1            E.       Based on a review of the Debtor’s schedules, proofs of claim filed in the Debtor’s

 2 case, and a preliminary title report1, the only known liens and encumbrances against the Property

 3 are:

 4                     1.     A deed of trust in favor of Investment Management Company, LLC

 5 (“IMC”), securing a note in the amount of approximately $361,768.75 (the “IMC Deed of Trust”).

 6 This amount is comprised of a principal debt of $350,000, default interest charges in the sum of

 7 $10,578.75, and attorneys’ fees in the sum of $1,190.

 8                     2.     A deed of trust in favor of Michael E. Dorff and Shari L. Dorff (collectively,

 9 the “Dorffs”), securing a note in the amount of approximately $70,621.89 (the “Dorff Deed of

10 Trust”). This amount is comprised of a principal debt of $50,000, default interest charges in the

11 sum of $11,287.89, attorneys’ fees in the sum of $8,984, and miscellaneous “Admin” fees in the

12 amount of $350.

13                     3.     A notice of Homeowners Association Assessment Lien in favor of the

14 De Celis Court Homeowners Association in the amount of $1,347.20 (the “HOA Lien”).

15            The liens and claims in favor of IMC and the Dorffs are referred to hereinafter collectively

16 as the “Property Liens.” The Debtor does not dispute the principal amount and non-default interest

17 owed under the Property Liens. However, the Debtor disputes the default interest asserted by IMC

18 and the Dorffs, as well as the attorneys’ fees asserted by the Dorffs, and is preparing to object to

19 such disputed portions of the Property Liens. Thus, such disputed portions of the Property Liens

20 are subject to a bona fide dispute under section 363(f)(4). Accordingly, the Debtor seeks to sell the

21 Property free and clear of the Property Liens, including free and clear of the disputed portions. The

22 Debtor intends to sell the Property free and clear of these liens, satisfy the undisputed amounts

23 owed under the Property Liens in full from the net sale proceeds, and attach the disputed portions

24 to the net proceeds of the sale with the same force, effect, validity and priority that they have with

25 respect to the Property.

26

27   11
     A copy of the title report is attached to the Declaration of Alphamorlai L. Kebeh as Exhibit
28 “10.”

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 1            The Debtor is preparing to object to the default interest accrued in connection with the

 2 Property Liens (the “Default Interest”) because, based on Ninth Circuit and other authority, default

 3 interest charges may be challenged on equitable grounds. The Debtor believes that the default

 4 interest rates asserted by IMC and the Dorffs would cause significant harm to the Debtor’s

 5 creditors and the estate. The Debtor therefore plans to object to IMC and the Dorffs’ claims to

 6 determine that the Default Interest and other disputed portions are inequitable. The Debtor is also

 7 preparing to object to the claim for attorneys’ fees asserted by the Dorffs because the Debtor

 8 believes that such fees are not allowable under the Bankruptcy Code. Thus, the sale of the Property

 9 will be made free and clear of the disputed portions of the Property Liens, including the Default

10 Interest, which will attach to the sale proceeds with the same force, effect, validity, and priority that

11 they have with respect to the Property. Specifically, the Debtor will hold the applicable net sale

12 proceeds in escrow, subject to further Court order.

13            F.       The proposed sale is subject to higher and better bids and, by way of this Motion,

14 the Debtor is requesting that the Court approve the overbid procedures described in the

15 accompanying memorandum of points and authorities, summarized as follows:

16                     1.     Minimum initial overbid: $660,000 (i.e. $10,000 above the Buyers’
17 current offer).

18                     2.     Minimum overbidding increments: $2,000.
19                     3.     Initial overbid deposit: $19,800.
20                     4.     Qualification for overbidding: At least three business days prior to the
21 commencement of the hearing on this Motion, any party wishing to overbid on the Property

22 must deliver to the Debtor c/o Danning, Gill, Israel & Krasnoff, LLP, Attn: Zev Shechtman,

23 1901 Avenue of the Stars, Suite 450, Los Angeles, California 90067:

24                            i.        a cashier’s check payable to “Jinzheng Group (USA) LLC” in the

25 amount of $19,800, and

26                            ii.       a written, executed overbid in the form attached as Exhibit “2” to the

27 Zhao Pu Yang’s declaration.

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 1            Absent the Debtor’s discretion, no party will be allowed to bid on the Property absent

 2 timely delivery of the initial overbid deposit and the written, executed overbid form. The Debtor in

 3 its sole discretion may determine that a party desiring to bid is not qualified due to insufficient

 4 documentation or financial qualifications. Accordingly, any party wishing to bid is encouraged to

 5 contact the Debtor’s counsel at least one week before the hearing to ensure qualification.

 6            G.       Back-up bidders: Any qualified overbidder who is not the successful overbidder
 7 may opt to be a back-up bidder, subject to the Debtor’s approval, in which case such back-up

 8 bidder’s initial deposit will be retained by the Debtor’s counsel until the sale closes.

 9            H.       Reimbursement of Expenses: The Debtor also requests authority to reimburse the
10 costs incurred by the Debtor’s broker relating to the maintenance of the Property, including service

11 costs for cleaning and handling of furniture. To date, the Debtor’s broker has incurred $740 in

12 costs relating to the maintenance of the Property. The Debtor requests authority to pay additional

13 reasonable and ordinary costs to the broker, prior to the closing of the sale, relating to the removal

14 of garbage on the premises or other maintenance matters.

15            I.       Estimated Net Sale Proceeds: The opening sale price for the Property is $650,000.
16 The Debtor estimates that the breakdown of the net sale proceeds, with 4.25% broker’s

17 commission, liens, fees, and anticipated costs of sale, as follows:

18    Sale Price                         $650,000.00
      Commission to Avenue 8
19
      (2.25%) (Debtor’s Broker)          ($14,625.00)
20    Commission to Vidal Capital
      Investments, Inc. (2%)
21    (Buyers’ Broker)                   ($13,000.00)
      Debtor’s Broker’s expense
22    reimbursements                     ($740.00)
23    Sale costs (estimated 2% of
      Sale Price)                        ($13,000.00)
24    IMC Deed of Trust (Principal
      and Postpetition Attorneys’
25    Fees only)                         ($351,190.00)
      Dorff Deed of Trust (Principal
26
      and “Admin” Fees Only)             ($50,350.00)
27    HOA Lien                           ($1,347.20)
      Estimated Net Sale Proceeds        $205,747.80
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 1            J.       The Debtor proposes to pay a real estate broker’s commission of 4.25% of the sale

 2 price of the Property to the brokers as follows: 2.25% to the Debtor’s broker Avenue 8, and 2% to

 3 Vidal Capital Investments, Inc., the Buyers’ broker (“Vivid”). If there is a successful overbidder

 4 (i.e., not the Buyers), such successful overbidder shall receive the 2% allocated to the Buyers’

 5 broker. If such successful overbidder does not have a broker, Avenue 8 will receive a total

 6 commission of 3% of the sale price of the Property, as the Debtor’s broker. Avenue 8 will be

 7 reimbursed $740 for out of pocket expenses advanced to date, plus any future out of pocket

 8 expenses it may incur prior to the closing of the Property sale.

 9            K.       Anticipated Taxes: The Debtor is inquiring with his tax consultant regarding the
10 potential tax consequences of the sale. The Debtor expects to provide an update with respect to any

11 tax consequences prior to the hearing on the Motion.

12            This Motion is based upon this Notice of Motion and Motion, the attached Memorandum of

13 Points and Authorities, the Declarations of Zhao Pu Yang, Emmanuel D. Margen, Jr., Analie E.

14 Margen, Darren Hubert, and Alphamorlai L. Kebeh, and Request for Judicial Notice; the papers

15 and pleadings in the Debtor’s bankruptcy case; and such other evidence that may be presented at

16 the hearing.

17            PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-1(f),
18 each interested party opposing, joining in, or responding to the Motion must, not later than 14 days

19 before the date of the hearing, file with the Clerk of the Bankruptcy Court and serve upon the

20 Debtor’s undersigned general counsel either: (i) a complete written statement of all reasons in

21 opposition thereto or in support or joinder thereof, declarations and copies of all evidence on which

22 the responding party intends to rely, and any responding memorandum of points and authorities; or

23 (ii) a written statement that the Motion will not be opposed.

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 1            Pursuant to Local Bankruptcy Rule 9013-1(h), failure to timely file and serve papers may

 2 be deemed by the Court to be consent to the granting of the Motion.

 3

 4 DATED: October 3, 2022                       DANNING, GILL, ISRAEL & KRASNOFF, LLP

 5

 6
                                                By:         /s/ Alphamorlai L. Kebeh
 7                                                    ALPHAMORLAI L. KEBEH
                                                      General Bankruptcy Counsel for Jinzheng Group
 8                                                    (USA) LLC, Debtor and Debtor in Possession
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 1                           MEMORANDUM OF POINTS AND AUTHORITIES
 2                                                       I.
 3                                          FACTUAL STATEMENT
 4 A.          Bankruptcy Background
 5             On August 24, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for relief

 6 under chapter 11 of the Bankruptcy Code. The Debtor continues in possession of its property and

 7 is operating and managing its business as a debtor in possession pursuant to the provisions of 11

 8 U.S.C. §§ 1107(a) and 1108. No Trustee or examiner has been appointed in the Debtor’s Chapter

 9 11 Case.

10 B.          The Subject Property
11             The assets of the bankruptcy estate include a number of real properties, including a parcel

12 of real property located at 6840 De Celis Place, Apt. 9, Van Nuys, California 91406 (the

13 “Property”). In addition to the Property, the Debtor is in possession of three other parcels (or

14 areas) of real property which it intends to sell as part of its liquidation plan. Like the Property,

15 these other properties are encumbered by liens.

16 C.          Proposed Treatment of Liens Against the Property
17             Based on a review of the Debtor’s schedules, proofs of claim filed in the Debtor’s case, and

18 a preliminary title report2, the only known liens and encumbrances against the Property are:

19             (1)     A deed of trust in favor of Investment Management Company, LLC (“IMC”),

20 securing a note in the amount of approximately $361,768.75 (the “IMC Deed of Trust”). This

21 amount is comprised of a principal debt of $350,000, default interest charges in the sum of

22 $10,578.75, and attorneys’ fees in the sum of $1,190.

23             (2)     A deed of trust in favor of Michael E. Dorff and Shari L. Dorff (collectively, the

24 “Dorffs”) securing a note in the amount of approximately $70,621.89 (the “Dorff Deed of Trust”).

25 This amount is comprised of a principal debt of $50,000, default interest charges in the sum of

26

27
     2
28       A copy of the title report is attached to the Declaration of Alphamorlai L. Kebeh as Exhibit “10.”

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 1 $11,287.89, attorneys’ fees in the sum of $8,984, and miscellaneous “Admin” fees in the amount of

 2 $350.

 3            (3)      A notice of Homeowners Association Assessment Lien in favor of the De Celis

 4 Court Homeowners Association in the amount of $1,347.20 (the “HOA Lien”).

 5            The liens and claims in favor of IMC and the Dorffs are referred to hereinafter collectively

 6 as the “Property Liens.”

 7            1.       The Property Liens
 8            On or about August 11, 2020, a note in the name of the Debtor in favor of IMC was

 9 executed and secured by the IMC Deed of Trust (the “IMC Note”). A copy of the IMC Note is

10 attached to the Motion as Exhibit “3.” The original principal amount of the IMC Note was

11 $350,000. On August 12, 2020, the Debtor and IMC executed a default interest rate rider

12 amending the IMC Promissory note (the “Default Rider”). A copy of the Default Rider is attached

13 to the Motion as Exhibit “4.” The standard interest rate under the IMC Note is 12%. The default

14 interest rate under the IMC Note, as amended by the default rider, is 24%. The Debtor is informed

15 by IMC that IMC has agreed to reduce the default interest rate under the IMC Note to 18%.

16            On or about November 20, 2020, a note in the name of the Debtor in favor of Dorff was

17 executed and secured by the Dorff Deed of Trust (the “Dorff Note”). A copy of the Dorff Note is

18 attached to the Motion as Exhibit “5.” The original principal amount of the Dorff Note was

19 $50,000. On the same date, the Debtor executed a rider to the Dorff Note amending the Dorff Note

20 (the “Dorff Rider”). A copy of the Dorff Rider is attached to the Motion as Exhibit “6.” The

21 standard interest rate under the Dorff Note is 12%. The default interest rate under the Dorff Note,

22 as amended by the Dorff Rider, is 17%.

23            The Debtor believes that the default interest accrued by virtue of the Property Liens (the

24 “Default Interest”) is unreasonable, deviates from market standards, and would cause significant

25 harm to the unsecured creditors in this case. Therefore, the Debtor anticipates challenging the

26 Default Interest as inequitable.

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 1 D.         The Debtor’s Marketing Efforts and Proposed Sale
 2            On August 8, 2022, the Court entered an order authorizing the employment of Avenue 8 as

 3 the Debtor’s broker. The Debtor has marketed the Property since July 28, 2022. In that time, the

 4 Debtor, through its broker, has held multiple open houses and private showings, and has received a

 5 total of 6,089 online views. With the aid of the broker, the Debtor has robustly marketed the

 6 Property for sale, and the Buyers’ offer is the best offer the Debtor has received to date. The only

 7 remaining requirement to close the sale is Court approval, subject to qualified overbids made at the

 8 sale hearing.

 9

10                                                       II.
11                                  PROPOSED OVERBID PROCEDURES
12            The Debtor requests that the Court approve the following procedures for overbids:

13            1.       Any party wishing to present an overbid must deliver the following to the Debtor at

14 least three (3) business days prior to the commencement of the hearing on this Motion:

15                     (a)    a deposit in the form of a cashier’s check in the amount of $19,800 payable

16 to “Jinzheng Group (USA) LLC” (the “Deposit”);

17                     (b)    a written offer on the form attached as Exhibit “2” to the Declaration of

18 Zhao Pu Yang, without any changes or conditions; and

19                     (c)    provide proof of ability to close acceptable in the sole discretion of the

20 Debtor.

21            2.       The initial overbid must be no less than $660,000, representing $10,000 over the

22 Proposed Sale Price.

23            3.       The acceptance of any overbid from a qualified bidder shall be in the Debtor’s sole

24 discretion and may be made prior to or at the time of hearing to confirm the sale.

25            4.       If qualified overbids are received and accepted by the Debtor, an auction will be

26 held at and during the hearing on the Debtor’s motion for approval of the proposed sale. The

27 Debtor proposes that each overbid to be made during the hearing be at least $2,000 more than the

28 then-highest overbid. At the conclusion of the auction, the Debtor will have the right, based solely

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 1 on his business judgment and sole discretion, to recommend to the Court for confirmation the offer

 2 that the Debtor determines is the highest and best overall offer.

 3            5.       If the Court approves a sale to the bidding party (hereinafter the “Successful

 4 Bidder”), the Successful Bidder will be bound by all of the terms of the Purchase and Sale

 5 Agreement except as to price, without any contingencies (including no financing contingency).

 6 The Successful Bidder’s deposit will be retained by the Debtor and will be applied to the sale price.

 7 The deposit will be non-refundable in the event that, for any reason whatsoever, the Successful

 8 Bidder fails to close the sale timely.

 9            6.       The closing will take place as soon as practicable after the date of entry of the

10 Court’s order approving the sale (the “Sale Order”), but no later than the first business day which is

11 more than fourteen calendar days following the date of entry of the Sale Order. The Debtor and the

12 Successful Bidder may mutually agree in writing to extend the time for closing the sale, without the

13 need to obtain Court approval(s) of such extension(s).

14            7.       In its sole discretion, the Debtor may request that the Court confirm a “Back-Up

15 Bidder” so that if the Successful Bidder does not close timely, the Debtor may sell the Property to

16 the Back-Up Bidder for the amount of such Back-Up Bidder’s last bid. In that event, the Back-Up

17 Bidder’s deposit will be retained by the Debtor’s counsel. If the sale to the Successful Bidder does

18 not close timely, the Debtor will advise the Back-Up Bidder accordingly. The closing will take

19 place on or before fourteen calendar days following the date on which the Debtor gives notice of

20 the Successful Bidder’s failure to close. The Back-Up Bidder will be bound by all of the terms of

21 the Sale Agreement except as to price, without contingencies (including any financing

22 contingency). The Back-Up Bidder’s deposit will be retained by the Debtor’s counsel and will be

23 applied to the sale price. If so notified that the Back-Up Bidder is up to proceed with the sale, then

24 the deposit will become non-refundable in the event that the Back-Up Bidder fails to close the sale

25 timely.

26            8.       If a qualified overbidder is not the Successful Bidder or the Back-Up Bidder, the

27 overbidder’s deposit will be returned to the overbidder within ten (10) days after the date of the

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 1 hearing. If the sale to the Successful Bidder closes, the Back-Up Bidder’s deposit will be returned

 2 to the Back-Up Bidder within ten (10) days from the date of closing.

 3            9.       Pursuant to the Court-approved listing agreement, the aggregate commission to be

 4 paid by the Debtor is an amount equal to 4.25% of the gross sales price. In addition, the Debtor

 5 requests that the Court authorize the Debtor to pay through escrow costs advanced for the Property

 6 by the Debtor’s broker plus any future out of pocket expenses they may advance. To date, these

 7 out of pocket expenses have aggregated $740.

 8

 9                                                      III.
10                                           LEGAL DISCUSSION
11 A.         The Proposed Sale of the Assets is Supported by the Debtor’s Sound Business
12            Judgment and is in the Best Interests of the Debtor’s Estate and Its Creditors
13            To enable a Trustee (or debtor-in-possession) to fulfill his duty to “collect and reduce to

14 money the property of the estate” (11 U.S.C. § 704(a)(1)), the trustee “after notice and a hearing,

15 may use, sell, or lease, other than in the ordinary course of business, property of the estate.” 11

16 U.S.C. § 363(b)(1). In this Circuit and others, courts will authorize sales where the decision to sell

17 assets outside the ordinary course of business is based upon sound business judgment. In re

18 Continental Air Lines, Inc., 780 F.2d 1223, 1226 (5th Cir. 1986); In re Derivium Capital, LLC, 380

19 B.R. 392, 404 (Bankr. D.S.C. 2007) (“In determining whether to approve a sale proposed by a

20 trustee, courts generally apply a business judgment test”).

21            Based on the Second Circuit’s decision in In re Lionel Corp., 722 F.2d 1063 (2d Cir. 1983),

22 courts generally hold that the following four elements must exist to satisfy the “sound business

23 judgment test”: (1) sound business reasons; (2) accurate and reasonable notice to interested

24 persons; (3) an adequate, fair and reasonable price; and (4) good faith. See Stephens Indus., Inc. v.

25 McClung, 789 F.2d 386, 390 (6th Cir. 1986) (affirming sale of debtor’s assets proposed by trustee

26 as being supported by a sound business purpose); Lionel, 722 F.2d at 1071. “Ordinarily, the

27 position of the trustee is afforded deference, particularly where business judgment is entailed in the

28 analysis or where there is no objection.” In re Lahijani, 325 B.R. 282, 289 (B.A.P. 9th Cir. 2005);

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 1 Derivium, 380 B.R. at 404 (“the Trustee’s business judgment is to be given ‘great judicial

 2 deference,’ [however] the Court must scrutinize whether the Trustee has fulfilled his duty to

 3 ‘maximize the value obtained from a sale’”).

 4            The Debtor believes that the proposed sale of the Property, subject to overbid, is the best

 5 method by which to maximize the value of the estate’s interest in the Property. As detailed above,

 6 the Debtor retained a licensed real estate broker to list, market, and aid it in selling the Property.

 7 The Debtor has obtained an offer subject to overbidding and Bankruptcy Court approval, and the

 8 Buyers’ is the highest and best offer received to date (taking into account financial qualifications as

 9 well as price). The price was arrived at with the Buyers following arms-length negotiations and the

10 Debtor believes that it represents a fair and adequate price for the Property.

11            The proposed sale is subject to overbids, so any and all qualified parties wishing to

12 purchase the Property for a higher price may do so.

13 B.         The Sale Should Be Free and Clear of Any and All Liens, Claims and Other Interests
14            A debtor may sell estate property free and clear of any non-debtor’s interest in such

15 property if:

16            (1) applicable nonbankruptcy law permits the sale of such property free and clear of
              such interest; (2) such entity consents; (3) such interest is a lien and the price at
17            which such property is to be sold is greater than the aggregate value of all liens on
              such property; (4) such interest is in bona fide dispute; or (5) such entity could be
18            compelled, in a legal or equitable proceeding, to accept a money satisfaction of such
              interest.
19
     11 U.S.C. § 363(f). The Debtor seeks to sell the Property free and clear of all liens, claims or other
20
     interests, in particular the undisputed portions of the liens of IMC and Dorff. Thus, sections 363(f)
21
     is satisfied.
22
     C.       The Sale Should be Free and Clear of Default Interest Because Default Interest Is In
23
              Bona Fide Dispute
24
              Section 506(b) of the Bankruptcy Court states, in relevant part, that the holder of an
25
     oversecured claim “shall be allowed…interest…and any reasonable fees, costs, or charges provided
26
     for under the agreement or State statute under which such claim arose.” 11 U.S.C. § 506(b). With
27
     respect to default interest rates, bankruptcy courts have applied a presumption of allowability for
28

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 1 contracted-for default rates. Gen. Elec. Capital Corp. v. Future Media Prods., Inc., 536 F.3d 969,

 2 974 (9th Cir. 2008). However, the Ninth Circuit, among others, has stated that this presumption is

 3 subject to challenge based on applicable nonbankruptcy law and the “equities involved in [the]

 4 bankruptcy proceeding.” Id. (quoting In re Laymon, 958 F.2d 72, 75 (5th Cir. 1992)); In re Terry

 5 Ltd. P’ship, 27 F.3d 241, 243 (7th Cir. 1994); In re Beltway One Dev. Grp., LLC, 547 B.R. 819,

 6 830 (B.A.P. 9th Cir. 2016) (noting that “the presumptive rule for default interest is also subject to

 7 rebuttal based on equitable considerations”); See In re 3MB, LLC, 609 B.R. 841 (Bankr. E.D. Cal.

 8 2019); See Southland Corp. v. Toronto–Dominion (In re Southland Corp.), 160 F.3d 1054 (5th Cir.

 9 1998). When weighing the equities involved, courts have considered various factors. 3MB, 608

10 B.R. at 850 (noting that the court’s equitable powers should be exercised where “the application of

11 the contractual interest rate would harm the unsecured creditors or impair the debtor's fresh start”)

12 (quoting In re 785 Partners LLC, 470 B.R. 126, 134 (Bankr. S.D.N.Y. 2012); In re DWS Invs., Inc.,

13 121 B.R. 845, 849 (Bankr. C.D. Cal. 1990) (considering the default interest’s relation to the market

14 rate of interest, the default interest’s relationship to the actual or projected loss as a result of

15 nonpayment, the debtor’s solvency, and the likelihood of distribution to unsecured creditors). Most

16 important of all the factors is whether junior or unsecured creditors will be harmed by an award of

17 default interest. Sec. & Exch. Comm'n v. Capital Cove Bancorp LLC, 2015 WL 9701154 at 11

18 (C.D. Cal. Oct. 13, 2015) (“courts have recognized that this consideration of whether junior or

19 unsecured creditors will be harmed ‘has special significance’”) (quoting In re Jack Kline Co. Inc.,

20 440 B.R. 712, 747 (Bankr. S.D. Tex. 2010); 785 Partners LLC, 470 B.R. at 134 (stating that post-

21 petition default interest may not be allowed where “the application of the contractual interest rate

22 would harm the unsecured creditors”); DWS Invs., Inc., 121 B.R. at 849 (declining to apply a post-

23 petition default interest rate in part because “[t]he estate is insolvent and the unsecured creditors are

24 unlikely to receive a distribution” if the rate is applied); Foss v. Boardwalk Partners (In re

25 Boardwalk Partners), 171 B.R. 87 (Bankr. D. Ariz. 1994); In re Texas Star Indus. Group, Ltd. Co.,

26 2007 WL 4522323 at 3 (Bankr. N.D. Tex. Dec. 19, 2007) (Declining to apply an 18% default

27 interest rate, noting that “[t]he most important factor is whether junior creditors will be harmed or

28 impaired if postpetition interest is paid at the default rate”); In re Process Property Corp., 327 B.R.

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 1 603, 609 (Bankr. N.D. Tex. 2005) (finding that an increase in an oversecured creditor’s interest rate

 2 from 6% to a statutory default rate of 12% was inequitable and stating that the increased rate’s

 3 impact on other creditors is “the most important aspect of the inquiry when examining the

 4 equities”); Southland Corp., 160 F.3d at 1060 (5th Cir. 1998) (stating that the impact of awarding

 5 default interest on junior creditors was “especially significant”).

 6            Here, the equities of the Debtor’s case support a finding that default interest should not be

 7 awarded on the Property Liens. At this stage in the Debtor’s case, the unsecured creditors of the

 8 estate will not receive distributions in full satisfaction of their claims, if at all. Indeed, the estate

 9 does not yet have sufficient funds to pay its administrative expenses. With respect to at least one

10 other property of the Debtor (San Marino), the third lienholder has agreed to subordinate a

11 substantial part of its lien to make the sale of that property possible. 3 Thus, to the extent any

12 lienholder receives default interest, that payment will be at the expense of payment of undersecured

13 lienholders, administrative creditors, priority creditors, and general unsecured creditors.

14            Furthermore, the default interest rates attached to the Property Liens are substantially higher

15 than market rates at the time that the IMC Note and the Dorff Note were executed. The Property is

16 a condominium. Prior to the Petition Date, standard interest rates for mortgages were well below

17 4%. Indeed, the 30-year fixed rate for a home loan fell below 3% during 2021. 4 The non-default

18 rates of 12% were exorbitant at the outset. 17% or 18% as the default rate is not acceptable under

19 most traditional circumstances involving an ordinary marketable condominium such as the

20 Property. These facts weigh against the allowance of Default Interest under the Property Liens.

21

22

23

24
     3
         See doc. no. 343 (motion to approve carveout agreement with DNQ LLC)
25
   4
     Google: “Mortgage Interest Rate in 2020” or “Mortgage Interest Rate in 2021.”
26 https://www.google.com/search?q=mortgage+intereste+rates+in+2020&rlz=1C1NHXL_enUS817

27 US817&oq=mortgage+intereste+rates+in+2020&aqs=chrome..69i57j0i13j0i22i30l7j0i8i13i30.680
   1j0j4&sourceid=chrome&ie=UTF-8
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 1            The Debtor is in possession of four properties, 5 including the Property subject to this

 2 Motion. The Debtor is attempting to sell its properties to generate funds for the benefit of the

 3 estate and its creditors. All of the Debtor’s properties are encumbered by claims secured by liens,

 4 and most of the secured creditors allege amounts owed based, in part, on default interest. Should

 5 the Court award interest at the default rate to these claims, the estate will lose a substantial sums

 6 which would otherwise be available for the benefit of the estate. This is a case where unsecured

 7 creditors will not receive any distribution absent a successful sale of real properties. Here,

 8 awarding default interest would prejudice all parties other than the oversecured creditors by

 9 reducing the chance that any other party will receive full or partial (depending on their priority)

10 satisfaction of their claims. At the same time that unsecured creditors may receive nothing, the

11 Debtor’s oversecured creditors would enjoy not only full payment of their principal, but also

12 payment of default interested at rates of 5 to 6 times the prevailing market interest rates that existed

13 when the Debtor obtained the loans.6 Accordingly, the Debtor objects to such treatment and

14 requests that the portion of IMC and the Dorffs’ claim relating to the Default Interest attach to the

15 net proceeds of the sale with the same force, effect, validity and priority that they have with respect

16 to the Property.

17 D.         The Sale Should be Free and Clear of The Dorffs’ Claim for Attorneys’ Fees Because
18            They are In Bona Fide Dispute
19            Section 506(b) requires that the party requesting post-petition attorneys’ fees must show:

20 “(1) the creditor's claim is an allowed secured claim; (2) the creditor is oversecured; (3) the fees are

21 reasonable; and (4) the fees are provided for under the agreement.” In re Valdez, 324 B.R. 296,

22 300 (Bankr. S.D. Tex. 2005). The oversecured creditor bears the burden of proof that it is entitled

23 to postpetition attorneys’ fees. Coward v. AC & S, Inc., 91 Fed. Appx. 919, 924 (5th Cir. 2004).

24

25
   5
     The property described as the Lincoln Heights Property is actually comprised of several parcels
26 that are being marketed for sale together.

27   6
     These facts may also support allegations under 11 U.S.C. § 548(a)(1)(B) for constructively
28 fraudulent transfers.

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 1            The Dorffs’ claim against the Debtor’s estate includes a claim for postpetition attorneys’

 2 fees in the amount of $8,984, nearly matching the total of default interest accrued and comprising

 3 of nearly 20% of the underlying note’s original value. Further, the note securing the Dorff Deed of

 4 Trust does not provide that the Debtor has any obligation relating to the Dorffs’ attorneys’ fees.

 5 For these reasons, the Debtor contends that the Dorffs’ are not entitled to postpetition attorneys’

 6 fees and disputes this portion of their claim.

 7 E.         The Proposed Sale May be Authorized Under Section 363 of the Bankruptcy Code
 8            Section 363(f) of the Bankruptcy Code provides that, upon certain conditions, the trustee

 9 (or debtor) may sell property free and clear of a lien or interest in such property:

10                     The trustee may sell property under subsection (b) or (c) of this
                       section free and clear of any interest in such property of an entity
11                     other than the estate, only if—

12                     (1) applicable nonbankruptcy law permits sale of such property free
                       and clear of such interest;
13
                       (2) such entity consents;
14
                       (3) such interest is a lien and the price at which such property is to be
15                     sold is greater than the aggregate value of all liens on such property;

16                     (4) such interest is in bona fide dispute; or

17                     (5) such entity could be compelled, in a legal or equitable proceeding, to accept a
                       money satisfaction of such interest.
18
     11 U.S.C. § 363(f).
19
              The Debtor will pay off all the undisputed portions of the liens on the Property, thus
20
     satisfying sections 363(f)(3) and (4). The purchase price for the Property will be at least $650,000,
21
     which will be sufficient to pay the undisputed portions of the Property Liens. The Debtor further
22
     seeks authority to pay the allowable and undisputed amounts of the Property Liens, the HOA Lien,
23
     and Avenue 8’s out of pocket expenses in full from escrow. There are no other known liens or
24
     interests in the Property. The Debtor further requests that the Court approve payments of all sales
25
     costs from the Property sale proceeds, including broker commissions, escrow fees, taxes and
26
     insurance, if any. The Debtor estimates these sale costs to be approximately $40,625.00.
27

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 1 F.         The Debtor Requests that the Court Find that the Buyers and Any Backup Buyer Are
 2            Good Faith Purchasers Pursuant to Section 363(m) of the Bankruptcy Code
 3            A purchaser of property is protected from the effects of reversal on appeal of the

 4 authorization to sell or lease as long as the Court finds that the purchaser acted in good faith. See

 5 11 U.S.C. § 363(m). A good faith purchaser is one who buys in good faith and for value. Ewell v.

 6 Diebert (In re Ewell), 958 F.2d 276, 281 (9th Cir. 1992). The Code does not define “good faith,”

 7 but courts have provided guidance as to the appropriate factors to consider. See Id. (lack of good

 8 faith generally shown by fraud, collusion between the purchaser and other bidders or the trustee, or

 9 an attempt to take grossly unfair advantage of other bidders); In re Pine Coast Enters., Ltd., 147

10 B.R. 30, 33 (Bankr. N.D. Ill. 1992) (requirement that a purchaser act in good faith speaks to the

11 integrity of its conduct in the course of sale proceeding).

12            Here, the Debtor employed broker to list, market and aid in selling the Property. The

13 broker listed the Property and negotiations with the Buyers and other potential purchasers were

14 made in an arms-length fashion. The Debtor will continue to negotiate at arms-length with

15 potential overbidders, and intends to present evidence to the Court at or before the hearing

16 supporting a finding of good faith as to any Successful Bidder or Back-Up Bidder. Moreover, the

17 Debtor, the Debtor’s broker and the Buyers have submitted declarations, attached to this Motion,

18 supporting a finding of good faith. As a result, the Debtor requests that the Court make a finding

19 that the party to whom the Court confirms the sale, as well as any Back-Up Bidder, is a good faith

20 purchaser of the Property within the meaning of § 363(m) of the Code.

21 G.         Waiver of FRBP 6004(h) is Warranted
22            The Debtor respectfully requests a waiver of the 14-day stay of the effect of the sale order.

23 It would be beneficial to the estate and all creditors to complete the sale at the earliest possible

24 time. The Debtor prays that the Court enter such relief pursuant to FRBP 6004(h) to ensure an

25 expeditious closing.

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 1                                                        IV.
 2                                                 CONCLUSION
 3            For the foregoing reasons, the Debtor requests that the Court enter an order:

 4            1.       authorizing the Debtor to sell all right, title and interest in and to the Property free

 5 and clear of any and all liens, claims or interests pursuant to 11 U.S.C. § 363(b) and (f);

 6            2.       approving the proposed overbid procedures;

 7            3.       directing that the sale be free and clear of all liens, claims and interests and to

 8 provide that the disputed portions of the liens secured by the IMC Deed of Trust and the Dorff

 9 Deed of Trust shall attach to like amounts of the net sale proceeds, with the same force, effect,

10 validity and priority that they have with respect to the Property;

11            4.       authorizing the Debtor to pay brokerage commissions, ordinary and customary costs

12 of sale (including title and escrow fees) through escrow, and to reimburse the Debtor’s broker’s out

13 of pocket expenses;

14            5.       determining that the Buyers and back-up bidder(s) (if any) are good faith purchasers

15 within the meaning of 11 U.S.C. § 363(m);

16            6.       waiving the effect of FRBP 6004(h);

17            7.       approving the form and manner of notice provided by the Debtor of the sale; and

18            8.       for such further relief as the Court deems just and proper.

19

20 DATED: October 3, 2022                           DANNING, GILL, ISRAEL & KRASNOFF, LLP

21

22
                                                    By:         /s/ Alphamorlai L. Kebeh
23                                                        ALPHAMORLAI L. KEBEH
                                                          General Bankruptcy Counsel for Jinzheng Group
24                                                        (USA) LLC, Debtor and Debtor in Possession
25

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 1                                   DECLARATION OF ZHAO PU YANG
 2 I, Zhao Pu Yang, declare as follows:

 3            1.       I am the Attorney in Fact for Jianqing Yang, Managing Member of Jinzheng Group
 4 (USA) LLC. I am also the son of Jianqing Yang.

 5            2.       All facts in this declaration are based upon my personal knowledge, discussions
 6 with the Debtor’s or my own advisors, broker or counsel, and/or my personal opinion based upon

 7 my experience and general knowledge about the Debtor.

 8            3.       I am over the age of 18 and am authorized to submit this declaration on behalf of the
 9 Debtor. If called to testify, I would testify to the matters set forth in this declaration.

10            4.       I submit my declaration in support of the Debtor’s Motion to Authorize Sale of Real
11 Property Located At 6840 De Celis Place, Apt. 9, Van Nuys, CA 91406 Free and Clear of Liens

12 (the “Motion”).

13            5.       I believe that the sale terms are reasonable and in the best interests of the estate and
14 respectfully request that the Court approve the Motion.

15            I declare under penalty of perjury under the laws of the United States of America that the
16 foregoing is true and correct.

17            Executed at Los Angeles, California on October 3, 2022.
18

19

20
                                                    By:      SIGNATURE TO FOLLOW
21                                                        ZHAO PU YANG
22

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        1                          DECLARATION OF EMMANUEL D. MARGEN, JR.
        2            I, Emmanuel D. Margen, Jr., declare as follows:
        3            1.       I am a buyer of all right, title, and interest in real property commonly known as 6840
        4 De Celis Place, Apt. 9, Van Nuys, CA 91406 (the “Property”) from Jinzheng Group (USA) LLC
        5 (the “Debtor”), as seller.

        6            2.       I make this declaration in support of the Debtor’s Motion to Authorize the Sale of
        7 Real Property Commonly Known as 6840 De Celis Place, Apt. 9, Van Nuys, CA 91406 (the

        8 “Motion”).
        9            3.       I have personal knowledge of the facts in this declaration, except those matters that
       10 are based upon information and belief and as to such matters, I believe such matters are true. If

       11 called as witnesses, I could testify competently to these facts.
       12            4.       I do not have any prior, current, or expected association or other connection with the
       13 Debtor, major creditors or equity security holders in the Debtor’s bankruptcy case, or with any of

       14 the professionals employed by the Debtor.

       15            5.       There has been no collusion between myself and other bidders for the sale of the
       16 Property, or any attempt by me to take unfair advantage of other bidders. My offer was in response

       17 to the marketing efforts of the Debtor’s real estate broker. All negotiations were conducted at
       18 arm’s length.
       19            I declare under penalty of perjury under the laws of the United States of America that the
       20 foregoing is true and correct.
       21            Executed at Los Angeles, California on October _, 2022.
       22
       23

       24
                                                          By:
       25                                                       Emmanuel D. Margen, Jr.

       26

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        1                                DECLARATION OF ANALIE E. MARGEN
        2            I, Analie E. Margen, declare as follows:
        3            1.       I am a buyer of all right, title, and interest in real property commonly known as 6840
        4 De Celis Place, Apt. 9, Van Nuys, CA 91406 (the “Property”) from Jinzheng Group (USA) LLC
        5 (the “Debtor”), as seller.

        6            2.       I make this declaration in support of the Debtor’s Motion to Authorize the Sale of
        7 Real Property Commonly Known as 6840 De Celis Place, Apt. 9, Van Nuys, CA 91406 (the

        8 “Motion”).
        9            3.       I have personal knowledge of the facts in this declaration, except those matters that
       10 are based upon information and belief and as to such matters, I believe such matters are true. If

       11 called as witnesses, I could testify competently to these facts.
       12            4.       I do not have any prior, current, or expected association or other connection with the
       13 Debtor, major creditors or equity security holders in the Debtor’s bankruptcy case, or with any of

       14 the professionals employed by the Debtor.

       15            5.       There has been no collusion between myself and other bidders for the sale of the
       16 Property, or any attempt by me to take unfair advantage of other bidders. My offer was in response

       17 to the marketing efforts of the Debtor’s real estate broker. All negotiations were conducted at
       18 arm’s length.
       19            I declare under penalty of perjury under the laws of the United States of America that the
       20 foregoing is true and correct.
       21 Executed at Los Angeles, California on October _, 2022.

       22
       23

       24                                                 By:
                                                                Analie E. Margen
       25

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 1                                 DECLARATION OF DARREN HUBERT
 2            I, Darren Hubert, declare as follows:

 3            1.       I am a realtor at Avenue 8, the broker for Jinzheng Group (USA) LLC (the

 4 “Debtor”).

 5            2.       I make this declaration in support of the Debtor’s Motion to Authorize the Sale of

 6 Real Property Commonly Known as 6840 De Celis Place, Apt. 9, Van Nuys, CA 91406 (the

 7 “Motion”).

 8            3.       I have personal knowledge of the facts in this declaration, except those matters that

 9 are based upon information and belief and as to such matters, I believe such matters are true. If

10 called as witnesses, I could testify competently to these facts.

11            4.       I am authorized to make and execute this declaration on behalf of Avenue 8.

12 Avenue 8 does not have any prior, current, or expected association or other connection with the

13 Debtor, major creditors or equity security holders in the Debtor’s bankruptcy case, or with any of

14 the professionals employed by the Debtor, except in that Avenue 8 has sometimes worked with the

15 Danning Gill firm as bankruptcy counsel.

16            5.       There has been no collusion between Avenue 8 and other brokers or bidders for the

17 sale of real property commonly known as 6840 De Celis Place, Apt. 9, Van Nuys, CA 91406 (the

18 “Property”), or any attempt by Avenue 8 to take unfair advantage of other brokers or bidders.

19            6.       The Property has been listed on the market since July 28, 2022. I believe that the

20 Property has been sufficiently exposed to the market during that time. Avenue has held multiple

21 open houses and private showings, and has received a total of 6,089 online views altogether.

22            7.       It is my business judgment based on years of experience as a broker and of many

23 real property bankruptcy sales I’ve conducted, that the proposed sale of the Property on the terms

24 set forth in the Purchase and Sale Agreement between the Debtor and the buyers is fair and

25 reasonable.

26            8.       The offer presented by the buyers is the best offer the Debtor has received to date.

27            9.       In order to most effectively market the Property, Avenue 8 has advanced costs

28 relating to the maintenance of the Property, including service costs for cleaning and handling of

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1 furniture. As of the date of this Motion, Avenue 8 has incurred $740 in costs relating to the
2 maintenance of the Property.

3             10.      Avenue 8 may also incur an additional $400 in costs prior to the closing of the sale,
4 relating to the removal of garbage on the premises.
5             I declare under penalty of perjury under the laws of the United States of America that the

6 foregoing is true and correct.
7 Executed at Los Angeles, California on October 3_, 2022.

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10                                                 By:
                                                         Darren Hubert
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                                  DECLARATION OF ALPHAMORLAI L. K~BEH

  21             I, Alphamorlai L. Kebeh, declare as follows:

  3              1.        I am an attorney employed by the law firm of banning, Gill, Israel &Krasnoff, LLP

 4 ("banning-Gill" or the "Firm"), attorneys for Debtor and Debtor in Possession, Jinzheng Group

  5 (USA),LLC (the "Debtor"). I have personal knowledge ofthe facts set forth herein, and if called

 6 as a witness, I could and would competently testify thereto.

  7              2.        I make this declaration in support of Debtor's Motion to Authorize the Sale of Real

  8 Property Commonly Known as 6840 De Celis Place, Apt. 9, Van Nuys, California 91406 (the

  9 "Motion").

 10              3.        In the course of conducting the proposed sale ofthe Debtor's property located at

 1 1 6840 De Celis Place, Apt. 9, Van Nuys, California 91406,I received a preliminary title report from

 12 the escrow agent for the proposed sale. A copy of the title report is attached hereto as Exhibit "10."

 13              I declare under penalty of perjury under the laws ofthe United States of America that the

 1 4 foregoing is true and correct.

 15              Executed at Los Angeles, California on October 3, 2022.

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                                                      By:     ~~'/'~,~%'lam/,'
 l~                                                         Alphamorlai L. Kebeh
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 1                                   REQUEST FOR JUDICIAL NOTICE
 2            Jinzheng Group (USA) LLC, debtor and debtor-in-possession (the “Debtor”), hereby

 3 respectfully requests that the Court take judicial notice of the following facts:

 4            1.       On August 24, 2021, the Debtor filed a voluntary petition for relief under Chapter

 5 11 of title 11 of the United States Code. The case was assigned case number 2:21-bk-16674-ER.

 6            2.       Pursuant to an order entered on August 8, 2022 (docket no. 328), the Debtor was

 7 authorized to employ Avenue 8 through its agent, Darren Hubert, as its real estate broker.

 8            3.       Attached hereto as Exhibit “7” is a copy of a document entitled “Deed of Trust”

 9 recorded in the County Recorder’s Office as instrument no. 20200957956 on or about August 18,

10 2020.

11            4.       Attached hereto as Exhibit “8” is a copy of a document entitled “Deed of Trust”

12 recorded in the County Recorder’s Office as instrument no. 20201525930 on or about November

13 25, 2020.

14            5.       Attached hereto as Exhibit “9” is a copy of a document entitled “Notice of

15 Delinquent Assessment” recorded in the County Recorder’s Office as instrument no. 20180240534

16 on or about March 13, 2018.

17

18 DATED: October 3, 2022                         DANNING, GILL, ISRAEL & KRASNOFF, LLP

19

20
                                                  By:         /s/ Alphamorlai L. Kebeh
21                                                      ALPHAMORLAI L. KEBEH
                                                        General Bankruptcy Counsel for Jinzheng Group
22                                                      (USA) LLC, Debtor and Debtor in Possession
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                                          PURCHASE AND SALE AGREEMENT

                   This agreement is intended to set forth a contract for the purchase by Emmanuel D
            Margen, Jr & Analie E Margen (the “Buyer”), from Jinzheng Group (USA), LLC, as the Chapter
            11 Debtor and Debtor in possession (the “Debtor” or “Seller”), Seller of the real property
            commonly known as 6840 De Celis Pl., Apt. 9, Van Nuys, CA 91406 (the “Property”). When
            executed below, the agreement (the “Counter-Offer”) will constitute conclusive evidence of the
            contract for the sale and purchase of the Property and replace in its entirety the offer dated
            9/07/2022, and any oral or written negotiations prior to or since then.

                    1.     The purchase price for the Property shall be $650,000. The initial deposit shall be
            $19,500. An executed copy of this Counter-Offer shall be delivered to the Debtor upon
            acceptance of this Counter-Offer by the Buyer. Escrow instructions corresponding to the terms
            of this agreement shall be signed by the parties within five (5) business days after the date of
            execution of this agreement. The deposit shall be non-refundable after the Due Diligence Date.
            Buyer’s deposit shall be deemed liquidated damages if the transaction fails to close as a result of
            Buyer’s default, but otherwise will be applied to the purchase price upon closing. Escrow holder
            shall be A & A Escrow Services, Inc. (415 N. Crescent Dr., Beverly Hills, California 90210).
            Title insurance shall be issued by the title company of the Seller’s choice.

                     2.     Buyer shall have until 12 days after the contract is fully executed to perform and
            complete all contingencies, inspections, investigations, tests and reviews of reports and complete
            all due diligence which the Buyer believes to be required for the purchase of the Property,
            including but not limited to any financing contingencies or inspections (the “Due Diligence
            Date”). The Buyer at the end of the Due Diligence Period may advise the Seller in writing of
            Buyer’s election to withdraw from this agreement and receive a full refund on the deposit;
            otherwise, silence shall be deemed acceptance. After expiration of that time period, the Seller
            shall file a motion to confirm this sale with the Bankruptcy Court for the Central District of
            California (the “Bankruptcy Court”).

                   3.      The sale shall be “as is” and “where is” with no warranty or recourse whatsoever.
            Transfer of the Property shall be by Quitclaim Deed. The Debtor has neither seen nor inspected
            the Property or determined its fitness for any particular use.

                     4.     The Seller shall convey and the Buyer shall accept the marketable title to the
            Property that will be insured by the Seller’s choice of title insurance, without material exception
            including free and clear of all liens, subject only to the terms of the within contract of sale. The
            Seller shall pay the costs of a CLTA Standard Owner’s policy of title insurance, and the Buyer
            shall pay the premium for any ALTA Policy. The Buyer shall be free to assign this contract to
            another, but in that event the Buyer shall remain liable hereunder in the event that the assignee
            fails to perform.

                    5.     The Buyer acknowledges that sale of the Property is subject to notice to creditors,
            entry of an order approving the sale by the Bankruptcy Court, and higher and better bids through
            and including the hearing to approve the sale. Payment of any and all real estate broker’s
            commissions is also subject to notice to creditors and approval by the Bankruptcy Court.
            Payment of any commission to the Debtor’s real estate broker is also subject to approval of the


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            Debtor’s broker’s employment by the Bankruptcy Court. Unless both Parties waive in writing
            this provision, the closing shall take place not more fifteen (15) calendar days after the date of
            entry of the order approving the sale.

                    6.      If any law or local ordinance requires as a condition of sale or transfer that the
            Property be brought into compliance with minimum energy conservation standards, that smoke
            detectors be installed or that water heaters be strapped, the Buyer shall comply with and pay for
            these requirements at Buyer’s sole expense. The Seller will not deliver to the Buyer a written
            statement of compliance with any applicable state and local law or sign any disclosures. Buyer is
            responsible for any required government retrofitting. It is the Buyer’s responsibility to complete
            any and all retrofitting or city reports if they are required. The Debtor will not pay for any
            termite report or repairs.

                  7.      The seller will pay for a standard Natural Hazard Zone Disclosure report with the
            company of sellers choice. The seller agrees to pay for HOA transfer fees.


                     8.      All allowable assessments and real property taxes shall be prorated through the
            closing date to the applicable accounts of the Seller and the Buyer. The sale shall be free and
            clear of all real property taxes enforceable against the Property through the date of closing of the
            sale. Escrow fees shall be split between the Buyer and the Seller, and the Seller shall pay any
            real property transfer tax. Except as otherwise set forth herein, the Buyer shall bear the expense
            of all other reports or inspections.

                   9.      The Seller is represented by Avenue 8 Inc (the “Seller’s Broker”). The Buyer is
            represented by Vidal Capital Investments, Inc (the “Buyer’s Broker”). The Seller’s Broker and
            the Buyer’s Broker are collectively referred to as the “Brokers.” No commission shall be due or
            payable except from the cash proceeds of an actual sale of the Property to the Buyer.

                    10.    In the event of any material change in the condition of the Property from the date
            of acceptance of this Counter-Offer, if the Buyer demands repair of any actual damage to the
            property, the Seller may, at his sole option, elect to terminate this agreement, make repairs at the
            estate’s expense, assign any insurance proceeds for the Property or credit the cost of repair into
            escrow.

                     11.     The Buyer’s sole remedy in the event that escrow fails to close as a result of the
            Seller’s inability to close escrow shall be a refund of the deposit in full. In the event the Buyer
            fail to perform by reason of the Buyer’s default, the deposit of $19,500 may be retained by the
            Seller as liquidated damages without further legal action.

                                                      ____ ____ [Buyer’s initials]

                     12.    The Bankruptcy Court for the Central District of California shall have jurisdiction
            to interpret and enforce the terms of this agreement. This agreement shall be construed pursuant
            to the laws of the State of California and the United States Bankruptcy Code.

                     13.      This Counter-Offer shall expire if not accepted on or before 9/13/2022, at 12:00
            p.m.


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                    14.    This Counter-Offer is binding upon and shall inure to the benefit of the parties
            hereto, and their respective attorneys, agents, heirs, administrators, predecessors, successors and
            assigns.

                    15.     This Counter-Offer constitutes the entire agreement between the Parties hereto
            pertaining to the subject matter hereof and supersedes all prior and contemporaneous agreements
            and other writings between the parties. No supplement, modification, waiver or termination of
            this Agreement shall be binding unless executed in writing by the Parties to be bound thereby.

                                      9
            DATED: September ___, 2022                          "SELLER"
                                                               JINZHENG GROUP (USA), LLC




                                                                                                          9/9/2022
                                                             By:
                                                                   Zhao Pu Yang, Attorney in Fact for Jianqing
                                                                   Yang, Managing Member




            AGREED AND ACCEPTED:

                              10 2022
            DATED: September ___,                              "BUYER"




                                                             By:                             /
                                                                   Emmanuel D Margen, Jr     / Analie E Margen




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                         OFFER TO PURCHASE REAL PROPERTY


The undersigned (collectively “Offerors”) hereby offer (the “Offer”) to purchase from Jinzheng
Group (USA), LLC (the “Debtor”), debtor and debtor-in-possession, the Debtor’s right, title and
interest to the real property commonly known as 6840 De Celis Place, Apt. 9, Van Nuys, CA
91406, bearing Assessor Parcel Number 225-001-043 (the “Property”), which is the subject of a
certain Purchase and Sale Agreement and amendments thereto (collectively, the “PSA”), dated
on or about September 10, 2022. Offerors hereby acknowledges receipt of a copy of the PSA.
[Initials________; initials _____]. Offerors agree to substitute into the Debtor’s currently
pending sale upon identical terms and conditions, except as to price and as otherwise set forth
herein.

The Offer price, all cash, shall be $_______________________ [at least $660,000].

There are no contingencies to the Offer whatsoever—save and excepting Bankruptcy Court
approval after notice and hearing—including, without limitation, inspection, due diligence or
financing contingencies. The Offer is subject to acceptance by the Debtor, approval by the
Bankruptcy Court, and higher and better bids at a sale motion hearing on October 24, 2022, at 11
a.m. in: Courtroom “1568” of the United States Bankruptcy Court located at 255 East Temple
Street, Los Angeles, California 90012. The Offerors understand, acknowledge, and agree that if
the Offerors are deemed “qualified bidders,” they or a duly authorized representative, shall
personally attend the hearing.

Offerors understand that the Debtor has neither inspected the Property nor analyzed its fitness for
any particular use. Offerors further understand that the sale is of the Debtor’s right, title and
interest, if any, in the Property only, and is sold on an “As Is” and “Where Is” basis, with no
warranty or recourse whatsoever. Offerors have completed all due diligence which Offerors
believe to be required to purchase the Property and have not relied upon any statement or
representation from the Debtor, its attorneys, its real estate brokers or other agents. Any
necessary testing, remediation, repairs, or other actions, including without limitation, those
relating to any environmental laws, shall be the sole responsibility of the Offerors, at Offerors’
sole expense.

The initial deposit is $19,800 (the “Deposit”). To be “qualified bidders” for the Property,
Offerors must deliver by October 18, 2022, to Jinzheng Group (USA), LLC, c/o Zev Shechtman,
1901 Avenue of the Stars, Suite 450, Los Angeles, California 90067-6006: (a) a cashier’s check
payable to “Jinzheng Group (USA), LLC, Debtor and Debtor-In-Possession” in an amount not
less than the Deposit, (b) an executed copy of this Offer, and (c) proof of adequate funding.
Parties who do not timely submit the foregoing will be barred from bidding at the sale motion
hearing at the Debtor’s discretion. The Deposit shall be non-refundable in the event that the
Court confirms the sale to the Offerors but Offerors breach their obligations under the Offer, in
which event the Debtor shall be free to sell the Property to another party and to retain the entire
Deposit without liability to anyone. Offerors’ sole remedy in the event that the Debtor is unable
to close the sale shall be a return of the Deposit in full. If the Offerors perform in full under the
terms of the Offer, but the Court confirms the sale of the Property to another party, Offerors’
Deposit shall be refundable in full. If another party is the successful bidder at the sale motion
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hearing, Offerors may opt to be a back-up bidder in which event the Deposit will be retained by
the Debtor until the sale closes.

A commission of 2% of the sale price shall be payable to Offerors’ real estate broker, if any,
subject to approval of the Bankruptcy Court, but only upon closing of the sale to Offerors.

The Offerors further understand, acknowledge, and agree that at the sale motion hearing, only
qualified bidders shall be entitled to bid, and that the Debtor has sole discretion to determine, in
the exercise of its sound business judgment, whether the Offerors are “qualified bidders.” If the
Offerors are not deemed qualified bidders (but have not otherwise defaulted), the Debtor will
refund the Deposit.

The Offerors understand, acknowledge, and agree that upon conclusion of the bidding process,
the Debtor shall have sole discretion, in the exercise of its sound business judgment, to decide
which of the bids is the best bid, subject to approval of the Bankruptcy Court. The overbidder
who is accepted by the Debtor and approved by the Bankruptcy Court as the successful bidder
must pay all amounts reflected in its bid in cash at the closing of the sale. At the sale hearing,
and upon conclusion of the bidding process, the Debtor may also acknowledge a back-up bidder,
which shall be the bidder with the next best bid determined in the sole discretion of the Debtor
subject to Bankruptcy Court approval. Should the successful bidder fail to timely close on the
sale of the Property, the Debtor may sell the Property to the back-up bidder without further court
order and retain the Deposit as liquidated damages. The undersigned Offerors hereby agree that
the Bankruptcy Court wherein the Bankruptcy Case No. 2:21-bk-16674 is pending, for Jinzheng
Group (USA), LLC, debtor and debtor-in-possession, shall have and retain exclusive jurisdiction
to interpret and enforce this Offer as well as to resolve any dispute related in any way to this
Offer, without a jury, and to enter final judgments thereon.


Dated: _________________________              ____________________________________
                                              (Name of Offeror)


                                              ____________________________________
                                              (address of Offeror)


                                              ____________________________________
                                              (tel. no. and email address of Offeror)


                                              ___________________________________
                                              (name, tel. no. email address of authorized agent
                                              of Offeror, if applicable)


                                              ____________________________________

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                                    (name, tel. no. email address of real estate agent and
                                    brokerage of Offeror, if applicable)


                                    ___________________________________
                                    (signature of Offeror and/or authorized agent
                                    of Offeror, if applicable)


Dated: _________________________    ____________________________________
                                    (Name of Offeror)


                                    ____________________________________
                                    (address of Offeror)


                                    ____________________________________
                                    (tel. no. and email address of Offeror)


                                    ___________________________________
                                    (name, tel. no. email address of authorized agent
                                    of Offeror, if applicable)


                                    ____________________________________
                                    (name, tel. no. email address of real estate agent and
                                    brokerage of Offeror, if applicable)


                                    ___________________________________
                                    (signature of Offeror and/or authorized agent
                                    of Offeror, if applicable)




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                                                                             Title Contact Information:
                                                                             WFG National Title Company of California
                                                                             700 N Brand Blvd., Suite 1100
                                                                             Glendale, CA 91203
                    PRELIMINARY REPORT                                       Phone: (818) 476-4083
                                                                             E-mail: teammark@wfgtitleco.com

                                                                             Title Officer: Mark Mendoza


A&A Escrow Services, Inc.                                       Order No.: 22-425418
Antonia Delgado
415 N Crescent Drive Suite 320                                  Ref. No.:    105609-AA
Beverly Hills, CA 90210
                                                                Property Address:
Escrow No: 105609-AA                                            6840 De Celis Place Apt #9
                                                                Los Angeles, CA 91406

                                                                APN: 2225-001-043
In response to the above referenced application for a policy of title insurance, WFG National Title Insurance Company hereby
reports that it is prepared to issue, or cause to be issued, as of the date hereof, a Policy or Policies of Title Insurance of
describing the land and the estate or interest therein hereinafter set forth, insuring against loss which may be sustained by
reason of any defect, lien, or encumbrance not shown or referred to as an Exception below or not excluded from coverage
pursuant to the printed Schedules, Conditions and Stipulations of said Policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set
forth in Exhibit One attached. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is
less than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or
the Insured as the exclusive remedy of the parties. Limitations on Covered Risks applicable to the CLTA and ALTA
Homeowner's Policies of Title Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for
certain coverages are also set forth in Exhibit One. Copies of the policy forms should be read. They are available from the
office which issued this report.
Please read the exceptions shown or referred to below and the exceptions and exclusions set forth in Exhibit One of
this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not
covered under the terms of the title insurance policy and should be carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title and may not list all
liens, defects, and encumbrances affecting title to the land. This report (and any supplements or amendments hereto) is
issued solely for the purpose of facilitating the issuance of a policy of title insurance and no liability is assumed hereby. If it is
desired that liability be assumed prior to the issuance of a policy of title insurance, a Binder or Commitment should be
requested.
The form of policy or policies of title insurance contemplated by this report is/are:
ALTA® Homeowner's Policy (12-02-13)

ALTA® Ext Loan Policy (06-17-06)

Issued by WFG National Title Insurance Company
Dated as of: August 31, 2022 at 7:30 am
The estate or interest in the land hereinafter described or referred to covered by this Report is:
A Fee
Title to said estate or interest at the date hereof is vested in:
Jinzheng Group (USA) LLC, a California Limited Liability Company, Subject to Item 21 shown herein

view image
The land referred to in this report is situated in the State of California, County of Los Angeles, and is described as follows:
                     SEE ATTACHED EXHIBIT “A” ATTACHED HERETO AND MADE A PART HEREOF




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                                    EXHIBIT "A"
                                 LEGAL DESCRIPTION
THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE COUNTY OF LOS ANGELES, STATE OF
CALIFORNIA AND IS DESCRIBED AS FOLLOWS:

A CONDOMINIUM COMPRISED OF:

PARCEL 1:

AN UNDIVIDED ONE-THIRTY SIXTH (1/36TH) FEE SIMPLE INTEREST AS A TENANT IN COMMON IN AND
TO THE COMMON AREA OF MODULE "A" OF LOT 1 OF TRACT NO. 62442, IN THE CITY OF LOS
ANGELES, COUNTY OF LOS ANGELES, AS PER MAP RECORDED IN BOOK 1331, PAGES 20 THROUGH
21, INCLUSIVE, OF MAPS, AS SHOWN ON THAT CERTAIN CONDOMINIUM PLAN FOR MODULES "A" AND
"B" OF SAID LOT 1 OF TRACT NO. 62442, WHICH CONDOMINIUM PLAN WAS RECORDED ON MAY 31,
2007, AS INSTRUMENT NO. XX-XXXXXXX ("CONDOMINIUM PLAN"), ALL IN THE OFFICE OF THE COUNTY
RECORDER OF SAID COUNTY.

EXCEPT THEREFROM THE UNITS AS SHOWN ON SAID CONDOMINIUM PLAN.

PARCEL 2:

UNIT NO. 9, OF SAID MODULE "A" OF LOT NO. 1 OF TRACT NO. 62442, AS SHOWN AND DESCRIBED IN
SAID CONDOMINIUM PLAN. RESERVING FROM SAID PARCELS 1 AND 2 ABOVE, FOR THE BENEFIT OF
GRANTOR, ITS SUCCESSORS IN INTEREST, AND OTHERS, EASEMENTS FOR ACCESS, USE,
ENJOYMENT, DRAINAGE, REPAIRS, AND FOR OTHER PURPOSES, ALL AS DESCRIBED IN THE
DECLARATION OF ESTABLISHMENT OF CONDITIONS, COVENANTS AND RESTRICTIONS FOR DE CELIS
COURT ("DECLARATION"), RECORDED ON 5/31, 2007 AS INSTRUMENT NO. XX-XXXXXXX, OF THE
OFFICIAL RECORDS OF LOS ANGELES COUNTY, CALIFORNIA, INCLUDING ANY AMENDMENTS
THERETO, ALL OF WHICH ARE INCORPORATED HEREIN BY THIS REFERENCE.

PARCEL 3:

NONEXCLUSIVE EASEMENTS FOR ACCESS, INGRESS, EGRESS, USE, ENJOYMENT, DRAINAGE,
ENCROACHMENT, SUPPORT, MAINTENANCE, REPAIRS, AND FOR OTHER PURPOSES, ALL AS
DESCRIBED IN THE DECLARATION RECORDED MAY 31, 2007 AS INSTRUMENT NO. XX-XXXXXXX, OF
OFFICIAL RECORDS AND THE CONDOMINIUM PLAN.

APN:    2225-001-043




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At the date hereof exception to coverage in addition to the printed Exceptions and Exclusions in said policy form
would be as follows:

1a.      General and special taxes and assessments for the fiscal year 2022 - 2023, a lien not yet due or
         payable.

1b.      General and Special City and/or County taxes, including any personal property taxes and any
         assessments collected with taxes, for the fiscal year 2021 - 2022:

         1st Installment:                      $3,508.57, Paid
         2nd Installment:                      $3,508.57, Paid
         APN.:                                 2225-001-043 View Taxes
         Code Area:                            00016

1c.      Supplemental taxes for the fiscal year issued pursuant to the provisions of Chapter 3.5 (commencing
         with Section 75) of the Revenue and Taxation Code of the State of California.

         APN No.:                              2225-001-043 View Taxes
         Supplemental Bill No.:                2225-001-043
         1st Installment:                      $594.28, Paid
         2nd Installment:                      $594.27, Paid

1d.      The lien of supplemental taxes, if any, assessed pursuant to Chapter 3.5 commencing with Section 75 of
         the California Revenue and Taxation Code.

1e.      Assessments, for community facility districts, if any, affecting said land which may exist by virtue of
         assessment maps or notices filed by said districts.

1f.      The liens of bonds and assessments liens, if applicable, collected with the general and special taxes.

2.       Water rights, claims or title to water, whether or not shown by the public records.

3.       Any easements or servitudes appearing in the public records.

         Affects: Common Area

4.       An easement for pole lines, conduit for public utility and rights incidental thereto, as set forth in a
         document recorded in (book) 5966 (page) 9, of Deeds.

         Reference is hereby made to said document for full particulars.

5.       Covenants, conditions, restrictions and easements in the document recorded in (book) 5966 (page) 9, of
         Deeds.

6.       An easement for construct, maintain underground communication facilities and rights incidental thereto,
         as set forth in a document recorded on July 16, 1981, as Instrument No. 81-707781, of Official Records.

         Reference is hereby made to said document for full particulars.

7.       An easement for communication lines and rights incidental thereto, as set forth in a document recorded
         on July 16, 1981, as Instrument No. 81-707784, of Official Records.

         Reference is hereby made to said document for full particulars.

8.       The terms, conditions and provisions contained in the document entitled "Memorandum of Waiver of the
         15% Document Requirement", recorded on June 30, 2005, as Instrument No. 2005-1549287, Official
         Records.

         Reference is hereby made to said document for full particulars.

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9.       The terms, conditions and provisions contained in the document entitled "Master Covenant and
         Agreement", recorded on March 16, 2006, as Instrument No. 2006-568266, Official Records.

         Reference is hereby made to said document for full particulars.

10.      The terms, conditions and provisions contained in the document entitled "Master Covenant and
         Agreement Regarding Onsite BMP Maintenance" , recorded on March 20, 2006, as Instrument No. 2006-
         594300 , Official Records.

         Reference is hereby made to said document for full particulars.

11.      The terms, conditions and provisions contained in the document entitled "Master Covenant and
         Agreement", recorded on March 22, 2006, as Instrument No. 2006-616200 , Official Records.

         Reference is hereby made to said document for full particulars.

12.      The terms, conditions and provisions contained in the document entitled "Master Covenant and
         Agreement", recorded on May 31, 2006, as Instrument No. 2006-1194322, Official Records.

         Reference is hereby made to said document for full particulars.

13.      An easement for public utilities and rights incidental thereto, as set forth in a document recorded on
         December 13, 2006, as Instrument No. 2006-2777274, of Official Records.

         Reference is hereby made to said document for full particulars.

14.      On the Map of Tract No. 62442, portion of Lot 1 is shown as a "future street".

15.      An easement for public sidewalk and rights incidental thereto, as shown or as offered for dedication on
         the recorded Map of said Tract.

16.      The terms, conditions and provisions contained in the document entitled "Notice of Existence of
         Procedures and Impact on Rights", recorded on May 29, 2007, as Instrument No. 2007-1285845, Official
         Records.

         Reference is hereby made to said document for full particulars.

17.      Covenants, conditions, restrictions, easements, assessments, liens, charges, terms and provisions in the
         document recorded on May 31, 2007, as Instrument No. 2007-1312425, of Official Records.

         Said covenants, conditions and restrictions provide that a violation thereof shall not defeat nor render
         invalid the lien of any mortgage or deed of trust made in good faith and for value.

         Said instrument also provides for the levy of assessments, the liens of which are stated to be subordinate
         to the lien of any mortgage or deed of trust made in good faith and for value.

         Document(s) declaring modifications thereof recorded on November 13, 2007, as Instrument No. 2007-
         2528727, of Official Records.

         Document(s) declaring modifications thereof recorded on December 28, 2007, as Instrument No.
         20072850667, of Official Records.

18.      The terms, conditions and provisions contained in the document entitled "Notice of Seller's Election for
         Handling of Construction Claims Pursuant to California Civil Code Section 895 et. seq.", recorded on
         May 31, 2007, as Instrument No. 2007-1312426 , Official Records.

         Reference is hereby made to said document for full particulars.




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19.      The terms, conditions and provisions contained in the document entitled "Resolution", recorded on March
         24, 2016, as Instrument No. 20160323494, Official Records.

         Reference is hereby made to said document for full particulars.


20.      A Notice of Homeowners Association Assessment Lien:

         Association:                         De Celis Court Homeowners Association
         Amount:                              $1,347.20, and any other amounts due thereunder
         Recorded:                            March 13, 2018
         Instrument No.:                      2018-240534, of Official Records.

21.      The requirement we be furnished an affidavit from
         Chao Yang
         to substantiate the deed recorded August 7, 2020 as Instrument No. 2020-915247, of Official
         Records wherein Jinzheng Group (USA) LLC, a California Corporation
         acquired title, along with a current statement of information for consideration prior to our committing
         to issue the insurance requested.
         Said declaration should be notarized by a notary public familiar to this company.

22.      A deed of trust to secure an indebtedness in the amount shown below, and any other obligations secured
         thereby:

         Amount:                              $350,000.00
         Dated:                               August 11, 2020
         Trustor:                             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                             SBS Trust Deed Network, a California Corporation
         Beneficiary:                         Investment Management Company, LLC, a California Limited
                                              Liability Company
         Lender:                              Investment Management Company, LLC, a California Limited
                                              Liability Company
         Recorded:                            August 18, 2020
         Instrument No.:                      20200957956 of Official Records

23.      A deed of trust to secure an indebtedness in the amount shown below, and any other obligations secured
         thereby:

         Amount:                              $60,000.00
         Dated:                               November 19, 2020
         Trustor:                             Jinzheng Group (USA) LLC, a California Limited Liability Company
         Trustee:                             North America Title Company
         Beneficiary:                         Michael E. Dorff and Shari L. Dorff, as joint tenants
         Lender:                              Michael E. Dorff and Shari L. Dorff, as joint tenants
         Recorded:                            November 25, 2020
         Instrument No.:                      20201525930 of Official Records

         To avoid delays at time of closing, please submit the original note and deed of trust together with a
         properly executed Substitution of Trustee and Full Reconveyance to this office, at least one week
         prior to the close of escrow.



                                            END OF EXCEPTIONS




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                                              REQUIREMENTS
Req. No. 1.     Statements of information from all parties to the transaction are required.

Req. No. 2.     With respect to Jinzheng Group (USA), LLC, a California limited liability company:

                a. A copy of its operating agreement and any amendments thereto;
                b. If it is a California limited liability company, that a certified copy of its articles of organization
                   (LLC-1) and any certificate of correction (LLC-11), certificate of amendment (LLC-2), or
                   restatement of articles
                   of organization (LLC-10) be recorded in the public records;
                c. If it is a foreign limited liability company, that a certified copy of its application for registration
                   (LLC-5) be recorded in the public records;
                d. With respect to any deed, deed of trust, lease, subordination agreement or other document
                   or instrument executed by such limited liability company and presented for recordation by
                   the Company or upon which the Company is asked to rely, that such document or
                   instrument be executed in accordance with one of the following, as appropriate:
                   (i) If the limited liability company properly operates through officers appointed or elected
                    pursuant to the terms of a written operating agreement, such document must be executed
                    by at least two duly elected or appointed officers, as follows: the chairman of the board,
                    the president or any vice president, and any secretary, assistant secretary, the chief
                    financial officer or any assistant treasurer;
                   (ii) If the limited liability company properly operates through a manager or managers
                    identified in the articles of organization and/or duly elected pursuant to the terms of a
                    written operating agreement, such document must be executed by at least two such
                    managers or by one manager if the limited liability company properly operates with the
                    existence of only one manager.
                e. Other requirements which the Company may impose following its review of the material
                   required herein and other information which the Company may require.

Req. No. 3.     Prior to the issuance of title insurance, it will be necessary that we be furnished a written
                statement from the Homeowners Association of which said property is a member, which will
                provide that all liens, charges and/or assessments levied on said land have been paid. Said
                statement should provide clearance up to and including the time of closing. In order to avoid
                unnecessary delays at the time of closing we ask that you obtain and forward said statement at
                your earliest convenience.

Req. No. 4.     Determination of whether reporting is required under any applicable U.S. Department of
                Treasury FINCEN Geographic Targeting Order (GTO) and, if reporting under the GTO is
                required, providing to the Company the information and identity documents required to comply
                with the GTO and complete the report.




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                                                     NOTES
This report does not reflect requests for notice of default, requests for notice of delinquency, subsequent
transfers of easements, and similar matters not germane to the issuance of the policy of title insurance
anticipated hereunder.
Note 1:    If this company is requested to disburse funds in connection with this transaction, Chapter 598 of
           1989 Mandates of the California Insurance Code requires hold periods for checks deposited to
           escrow or sub-escrow accounts. Such periods vary depending upon the type of check and anticipated
           methods of deposit should be discussed with the escrow officer.
Note 2:    No endorsement issued in connection with the policy and relating to covenants, conditions or
           restrictions provides coverage for environmental protection.
Note 3:    Special recordings: Due to a severe budget shortfall, many county recorders have announced that
           severe limitations will be placed on the acceptance of "special recordings."
Note 4:    Homeowners association: if the property herein described is subject to membership in a homeowners
           association, it will become necessary that we be furnished a written statement from the said
           homeowners association of which said property is a member, which provides that all liens, charges
           and/or assessments levied on said land have been paid. Said statement should provide clearance up
           to and including the time of closing. In order to avoid unnecessary delays at the time of closing, we
           ask that you obtain and forward said statement at your earliest convenience.
Note 5:    Demands: This Company requires that all beneficiary demands be current at the time of closing. If the
           demand has expired and a current demand cannot be obtained it may be necessary to hold money
           whether payoff is made based on verbal figures or an expired demand.
Note 6:    Line of credit payoffs: If any deed of trust herein secures a line of credit, we will require that the
           account be frozen and closed and no additional advances be made to the borrower. If the beneficiary
           is unwilling to freeze the account, we will require you submit to us all unused checks, debit vouchers,
           and/or credit cards associated with the loan along with a letter (affidavit) signed by the trustor stating
           that no additional advances will be made under the credit line. If neither of the above is possible, it will
           be necessary to hold any difference between the demand balance and the maximum available credit.
Note 7:    Maps: The map attached hereto may or may not be a survey of the land depicted thereon. You should
           not rely upon it for any purpose other than orientation to the general location of the parcel or parcels
           depicted. WFG National Title Company of California expressly disclaims any liability for alleged loss
           or damages which may result from reliance upon this map.
Note 8:    In the event of cancellation or if the transaction has not closed within 90 days from the date hereof,
           the rate imposed and collectable shall be a minimum of $360.00, pursuant to Section 12404 of the
           Insurance code, unless other provisions are made.
Note 9:    A Preliminary Change of Ownership Report (PCOR) must be filed with each conveyance in the
           County Recorder’s office for the county where the property is located. If a document evidencing a
           change in ownership is presented to the Recorder for recordation without the concurrent filing of a
           PCOR, the Recorder may charge an additional recording fee of twenty dollars ($20). State law also
           provides for a penalty of be levied if the Change of Ownership Report is not returned to the Assessor
           within a timely filing period. The penalty for failure to file a Change in Ownership Statement is $100 or
           10% of the new tax bill, whichever is greater, but not to exceed $2,500.
Note 10:   As to any and all covenants and restrictions set forth herein, the following is added: “but omitting any
           covenant, condition or restriction indicating a preference, limitation or discrimination based on race,
           color, religion, sex, sexual orientation, familial status, disability, handicap, national origin, genetic
           information, gender, gender identity, gender expression, marital status, source of income (as defined
           in subdivision (p) of Section 12955), or ancestry, that restriction violates state and federal fair housing
           laws and is void, and may be removed pursuant to Section 12956.2 of the Government Code, to the
           extent such covenants, conditions or restrictions violate Title 42, Section 3604(c), of the United States
           Codes or Section 12955 of the California Government Code. Lawful restrictions under state and
           federal law on the age of occupants in senior housing or housing for older persons shall not be
           construed as restrictions based on familial status.”

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Note 11:   Due to current conflicts or potential conflicts between state and federal law, which conflicts may
           extend to local law, regarding marijuana, if the transaction to be insured involves property which is
           currently used or is to be used in connection with a marijuana enterprise, including but not limited to
           the cultivation, storage, distribution, transport, manufacture, or sale of marijuana and/or products
           containing marijuana, the Company declines to close or insure the transaction, and this Preliminary
           Title Report shall automatically be considered null and void and of no force and effect.
Note 12:   This report is preparatory to the issuance of an ALTA Loan Policy. We have no knowledge of any fact
           which would preclude the issuance of the policy with CLTA Endorsement forms 100, 116 or 116.01
           and if applicable, 115 and 116.02 attached.

           When issued, the CLTA endorsement form 116, 116.01 or 116.02, if applicable will reference
           Condominium

           known as
           6840 De Celis Place Apt #9, City of Los Angeles, County of Los Angeles, California
Note 13:   The only conveyances affecting said land which recorded within twenty-four (24) months of the date
           of this report are:

           None of Record




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                                             Exhibit One (Rev. 06-15-14)
                                   CLTA STANDARD COVERAGE POLICY—1990 (4-8-14)
                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys'
fees or expenses which arise by reason of:
1.        (a)       Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or
                    regulations) restricting, regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the
                    character, dimensions or location of any improvement now or hereafter erected on the land; (iii) a separation in
                    ownership or a change in the dimensions or area of the land or any parcel of which the land is or was a part; or (iv)
                    environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations, except to
                    the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation
                    or alleged violation affecting the land has been recorded in the public records at Date of Policy.
          (b)       Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or
                    notice of a defect, lien or encumbrance resulting from a violation or alleged violation affecting the land has been recorded
                    in the public records at Date of Policy.
2.        Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not
          excluding from coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser
          for value without knowledge.
3.        Defects, liens, encumbrances, adverse claims or other matters:
          (a)       whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the
                    insured claimant;
          (b)       not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and
                    not disclosed in writing to the Company by the insured claimant prior to the date the insured claimant became an insured
                    under this policy;
          (c)       resulting in no loss or damage to the insured claimant;
          (d)       attaching or created subsequent to Date of Policy; or
          (e)       resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured
                    mortgage or for the estate or interest insured by this policy.

4.        Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability
          or failure of any subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the
          land is situated.
5.        Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by
          the insured mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6.        Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction
          creating the interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors'
          rights laws.

                                 EXCEPTIONS FROM COVERAGE—SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason
of:
1.        Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or
          assessments on real property or by the public records.
          Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown
          by the records of such agency or by the public records.
2.        Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of
          the land which may be asserted by persons in possession thereof.
3.        Easements, liens or encumbrances, or claims thereof, which are not shown by the public records.
4.        Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would
          disclose, and which are not shown by the public records.
5.        (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water
          rights, claims or title to water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6.        Any lien or right to a lien for services, labor or material not shown by the public records.




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                          CLTA/ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                               EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1.   Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     (a)   building;
     (b)   zoning;
     (c)   land use;
     (d)   improvements on the Land;
     (e)   land division; and
     (f)   environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2.   The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This
     Exclusion does not limit the coverage described in Covered Risk 14 or 15.
3.   The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4.   Risks:
     (a)   that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     (b)   that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;
     (c)   that result in no loss to You; or
     (d)   that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right: (a) to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and (b) in streets,
     alleys, or waterways that touch the Land. This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy,
     state insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                 LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner's Coverage Statement as follows:
          For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                Your Deductible Amount                         Our Maximum
                                                                                               DollarLimit of Liability
Covered Risk 16:                 1% of Policy Amount Shown in Schedule A or $2,500                          $10,000.00
                                                     (whichever is less)
Covered Risk 18:                 1% of Policy Amount Shown in Schedule A or $5,000                           $25,000.00
                                                     (whichever is less)
Covered Risk 19:                 1% of Policy Amount Shown in Schedule A or $5,000                           $25,000.00
                                                      (whichever is less)
Covered Risk 21:                 1% of Policy Amount Shown in Schedule A of $2,500                           $ 5,000.00
                                                      (whichever is less)

                                                2006 ALTA LOAN POLICY (06/17/06))
                                                  EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys'
fees or expenses which arise by reason of:
1.         (a)         Any law, ordinance or governmental regulation (including those relating to building and zoning) restricting, regulating,
                       prohibiting or relating to
                       (i)         the occupancy, use, or enjoyment of the Land;
                       (ii)        the character, dimensions or location of any improvement erected on the Land;
                       (iii)       the subdivision of land; or
                       (iv)        environmental protection,
                       or the effect of any violation of these laws, ordinances or governmental regulations. This Exclusion 1(a) does not modify
                       or limit the coverage provided under Covered Risk 5.

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          (b)        Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk
                     6.
2.        Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.        Defects, liens, encumbrances, adverse claims or other matters:
          (a)        created, suffered, assumed or agreed to by the Insured Claimant;
          (b)        not Known to the Company, not recorded in the public records at Date of Policy, but Known to the Insured Claimant and
                     not disclosed in writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an
                     insured under this policy;
          (c)        resulting in no loss or damage to the Insured Claimant;
          (d)        attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under
                     Covered Risk 11,13, or 14); or
          (e)        resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured
                     Mortgage.
4.        Unenforceability of the lien of the Insured Mortgage because of the inability or failure of the Insured to comply with applicable
          doing-business laws of the state in which the land is situated.
5.        Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by
          the Insured Mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6.        Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction
          creating the lien of the Insured Mortgage, is
          (a)        a fraudulent conveyance or fraudulent transfer, or
          (b)        a preferential transfer for any reason not stated in covered Risk 13(b) of this policy..
7.        Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between
          Date of Policy and the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the
          coverage provided under covered Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                  EXCEPTIONS FROM COVERAGE
Except as provided in Schedule B - Part II, this policy does not insure against loss or damage (and the Company
will not pay costs, attorneys' fees or expenses) which arise by reason of:
                                                      PART 1
1.        (a)        Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or
                     assessments on real property or by the Public Records;
          (b)        Proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings, whether or not
                     shown by the records of such agency or by the Public Records.
2.        Any facts, rights, interests or claims that are not shown by the Public Records but that could be ascertained by an inspection of the
          Land or that may be asserted by persons in possession of the Land.
3.        Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4.        Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an
          accurate and complete land survey of the Land and not shown by the Public Records.
5.        (a)         Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water
          rights, claims or title to water, whether or not the matters excepted under (a), (b) or (c) are shown by the Public Records
6.        Any lien or right to a lien for services, labor or material not shown by the Public Records.

                                                                    PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against
loss or damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:]

                                             2006 ALTA OWNER'S POLICY (06/17/06)
                                                EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys'
fees or expenses which arise by reason of:
1.        (a)        Any law, ordinance or governmental regulation (including those relating to building and zoning) restricting, regulating,
                     prohibiting or relating to
                     (i) the occupancy, use, or enjoyment of the Land;
                     (ii) the character, dimensions or location of any improvement erected on the Land;
                     (iii) the subdivision of land; or
                     (iv) environmental protection;
                     or the effect of any violation of these laws, ordinances or governmental regulations. This Exclusion 1(a) does not modify
                     or limit the coverage provided under Covered Risk 5.
          (b)        Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk
                     6.
2.        Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.        Defects, liens, encumbrances, adverse claims or other matters:
          (a)        created, suffered, assumed or agreed to by the Insured Claimant;
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          b)         not Known to the Company, not recorded in the public records at Date of Policy, but Known to the Insured Claimant and
                     not disclosed in writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an
                     insured under this policy;
c)        resulting in no loss or damage to the Insured Claimant;
          (d)        attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under
                     Covered Risk 9 and 10); or
          (e)        resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4.        Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction
          vesting the Title as shown in Schedule A, is
          (a)       a fraudulent conveyance or fraudulent transfer, or
          (b)       a preferential transfer for any reason not stated in covered Risk 9 of this policy..
5.        Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between
          Date of Policy and the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown
          in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                  EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage and the Company will not pay costs, attorneys' fees or expenses which arise by reason of:
1.        (a)       Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or
                    assessments on real property or by the Public Records;
          (b)       Proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings, whether or not
                    shown by the records of such agency or by the Public Records.
2.        Any facts, rights, interests or claims that are not shown by the Public Records but that could be ascertained by an inspection of the
          Land or that may be asserted by persons in possession of the Land.
3.        Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4.        Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an
          accurate and complete land survey of the Land and not shown by the Public Records.
5.        (a)         Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water
          rights, claims or title to water, whether or not the matters excepted under (a), (b) or (c) are shown by the Public Records.
6.        Any lien or right to a lien for services, labor or material not shown by the Public Records.
7.        Variable exceptions such as taxes, easements, CC&R's, etc. shown here.




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                       ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY (12-02-13)
                                     EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys'
fees or expenses which arise by reason of:
1.        (a)        Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting,
                     regulating, prohibiting, or relating to
                     (i)        the occupancy, use, or enjoyment of the Land;
                     (ii)       the character, dimensions, or location of any improvement erected on the Land;
                     (iii)      the subdivision of land; or
                     (iv)       environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit
          the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
          (b)        Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk
                     5, 6, 13(c), 13(d), 14 or 16.
2.        Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.        Defects, liens, encumbrances, adverse claims, or other matters
          (a)        created, suffered, assumed, or agreed to by the Insured Claimant;
          (b)        not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and
                     not disclosed in writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an
                     Insured under this policy;
          (c)        resulting in no loss or damage to the Insured Claimant;
          (d)        attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under
                     Covered Risk 11, 16, 17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
          (e)        resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured
                     Mortgage.
4.        Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-
          business laws of the state where the Land is situated.
5.        Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by
          the Insured Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not
          modify or limit the coverage provided in Covered Risk 26.
6.        Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made
          after the Insured has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by
          this policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11.
7.        Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent
          to Date of Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8.        The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance
          with applicable building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9.        Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction
          creating the lien of the Insured Mortgage, is
          (a)        a fraudulent conveyance or fraudulent transfer, or
          (b)        a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10.       Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11.       Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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                                      STATEMENT OF INFORMATION
CONFIDENTIAL - TO BE USED ONLY IN CONNECTION WITH ORDER NO: 22-425418, ESCROW NO.: 22-425418AND
PROPERTY ADDRESS: 6840 DE CELIS PLACE APT #9, VAN NUYS, CA 91406
1. IMPROVEMENTS:          NONE/VACANT LAND       SINGLE RESIDENCE                 MULTIPLE RESIDENCE           COMMERICAL
2. OCCUPIED BY:           OWNER                  TENANTS
3. CONSTRUCTION WITHIN LAST 6 MONTHS?            YES                              NO
                       IF YES, INDICATE WORK DONE:
PARTY 1                                                   PARTY 2


FIRST             MIDDLE      NONE        LAST                     FIRST               MIDDLE    NONE       LAST


FORMER LAST NAME(S), IF ANY                                        FORMER LAST NAME(S), IF ANY


BIRTHPLACE                      BIRTH DATE                         BIRTHPLACE                     BIRTH DATE


SOCIAL SECURITY NUMBER          DRIVER’S LICENSE                   SOCIAL SECURITY NUMBER         DRIVER’S LICENSE

NAME OF FORMER SPOUSE/REGISTERED DOMESTIC PARTNER                  NAME OF FORMER SPOUSE/REGISTERED DOMESTIC PARTNER


                                                          MARRIAGE
  SINGLE              MARRIED                UNMARRIED             DATE OF MARRIAGE/DIVORCE:
PARTY 1
                                               RESIDENCES FOR LAST 10 YEARS


ADDRESS                                                     CITY                         STATE          FROM (DATE) TO (DATE)


ADDRESS                                                     CITY                         STATE          FROM (DATE) TO (DATE)


ADDRESS                                                     CITY                         STATE          FROM (DATE) TO (DATE)

                                               OCCUPATIONS FOR LAST 10 YEARS


OCCUPATION                    FIRM NAME                  ADDRESS                                            NUMBER OF YEARS


OCCUPATION                    FIRM NAME                  ADDRESS                                            NUMBER OF YEARS
PARTY 2
                                               RESIDENCES FOR LAST 10 YEARS


ADDRESS                                                     CITY                         STATE          FROM (DATE) TO (DATE)


ADDRESS                                                     CITY                         STATE          FROM (DATE) TO (DATE)


ADDRESS                                                     CITY                         STATE          FROM (DATE) TO (DATE)

                                               OCCUPATIONS FOR LAST 10 YEARS


OCCUPATION                    FIRM NAME                  ADDRESS                                            NUMBER OF YEARS


OCCUPATION                    FIRM NAME                  ADDRESS                                            NUMBER OF YEARS
THE UNDERSIGNED DECLARE, UNDER PENALTY OF PERJURY, THAT THE FOREGOING IS TRUE AND CORRECT.

EXECUTED ON                                        (DATE), AT                                                          (CITY).

BY                                                                 BY

HOME TELEPHONE:                                                    HOME TELEPHONE

BUSINESS TELEPHONE                                                 BUSINESS TELEPHONE

EMAIL __________________________________________________           EMAIL___________________________________________________



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                           Disclosure to Consumer of Available Discounts
                      Pursuant to California Code of Regulations Section 2355.3


In compliance with Section 2355.3 of the California Code of Regulations, if the current transaction involves an
improved, one-to-four family, residential dwelling, the proposed insured may be entitled to certain cost
reductions and/or discounts in their title insurance premiums and/or settlement service charges, pursuant to the
programs listed below, and as further described in the Company’s current Schedule of Rates and Rules for the
State of California, currently on file with the California Department of Insurance. The reductions and/or discounts
available are:

       Electronic Commerce                              Expedited/Electronic Refinance Rates
       Group Title Discount Program                     Lender Special Rates 1, 2, 3
       First Time Buyer(s)                              Limited Escrow Rates
       Senior Citizen Rate                              Home Equity Escrow Rate
       U.S. Military Rate                               REO Escrow Rate
       Consumer Direct Rates                            Group Rate Escrow Discount
       Disaster Loans

Application of the Reductions and/or Discounts listed above shall be governed by the rules and requirements set
forth in the Schedule of Rates and Rules on file in the office of the California Insurance Commissioner. Multiple
programs may or may not be applied. Pursuant to the above referenced California Code of Regulations Section,
neither provision nor acceptance of this form shall constitute a waiver of the consumer's right to be charged the
filed rate.

With the receipt of the Preliminary Report to which this Disclosure Form is attached, the proposed insured
acknowledges that they have been notified that they may be entitled to certain cost reductions and/or discounts,
as listed above and as more particularly described in the Company’s Schedule of Rates and Rules, currently on
file in the office of the Insurance Commissioner of the State of California.




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                                             Plain English Privacy Statement
                                         for Appraisal, Title & Escrow Customers

WFG believes it is important to protect your privacy and confidences. We recognize and respect the privacy expectations
of our customers. We believe that making you aware of how we collect information about you, how we use that
information, and with whom we share that information will form the basis for a relationship of trust between us. This
Privacy Policy provides that explanation. We reserve the right to change this Privacy Policy from time to time.
Williston Financial Group, LLC, WFG National Title Insurance Co. and each of the affiliates listed below (collectively
“WFG” or the “WFG Family”) are obligated to comply with Federal and state privacy laws. While there are some common
requirements to those laws, the definitions and duties differ significantly from law-to-law and state-to-state. A privacy
statement drafted to comply with all of the applicable privacy laws and their differing definitions would likely be confusing.
Therefore, in an attempt to better communicate our privacy policies, WFG designed this “Plain English” explanation,
followed by the Gramm-Leach-Bliley Act model form and website links to State-Specific Privacy Notices in order to
provide you with the complete, legal privacy notices and disclosures required under Federal and applicable State Laws.
WFG’s primary business is providing appraisal, title insurance and, escrow services for the sale or refinance of real
property. This can be a complicated process, involving multiple parties, many of whom have been selected by our
customers, each filling a specialized role. In part, you have hired WFG to coordinate and smooth the passage of the
information necessary for an efficient settlement or closing.
In the course of this process, WFG collects a significant amount of personal and identifying information about the parties
to a transaction, including sensitive items that include but are not limited to: your contact information including email
addresses, Social Security numbers, driver’s license and, other identification numbers and information; financial, bank
and insurance information; information about past and proposed mortgages and loans; about properties you currently or
previously owned; your mortgage application package; and the cookie, IP address, and other information captured
automatically by computer systems.
Much of this information is gathered from searches of public land records, tax, court and credit records to make certain
that any liens, challenges, or title defects are addressed properly. Some of the information that is collected is provided by
you, or the computer systems you use. We also may receive information from real estate brokers and agents, mortgage
brokers and, others working to facilitate your transaction. We also may receive information from public, private or
governmental databases including credit bureaus, ‘no-fly’ lists, and terrorist ‘watch lists’ , as well as from your lenders and
credit bureaus.

What Information is Shared?
WFG DOES NOT SELL any of your information to non-affiliated companies for marketing or any other purpose.
However, some of the same information does get shared with persons inside and outside the WFG Family in order to
facilitate and complete your transaction.
For example:

       Information, draft documents, and closing costs will pass back and forth between WFG and
        your mortgage broker and lender to facilitate your transaction.
       Information, including purchase agreements and amendments, will pass back and forth
        between WFG and the real estate agents and brokers, the mortgage brokers and lenders, the
        lawyers and accountants, and others involved in facilitating the transaction.
       WFG may order property searches and examinations from title searchers, abstractors and title
        plants.
       WFG may use third parties to obtain tax information, lien information, payoff information,
        condominium and, homeowners’ association information and payoff information.
       Third parties may be engaged to prepare documents in connection with your transaction.
       Surveys, appraisals and, inspections may be ordered.

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       Within the WFG Family of companies, we may divide up the work to handle each closing in the
        most efficient manner possible and to meet specific legal and licensing requirements. Certain
        parts of your closing (for example a search or disbursement) may be handled by another
        division or company within the WFG Family.
       When it is time for signatures, your complete closing package may be sent to a notary, remote
        online notary, or notary service company who will arrange to meet with you to sign documents.
        The notary will, in turn, send signed copies back to us along with copies of your driver’s license
        or other identity documents usually by mail, UPS, Federal Express or another courier service.
       Your deed, mortgage and other documents required to perfect title will be recorded with the
        local recorder of deeds.
       In some cases, we use an outside service to coordinate the recording or electronic-recording
        of those instruments, and they will receive copies of your deeds, mortgages and other
        recordable documents to process, scan and send on to the recording office.
       Various government agencies get involved. The law requires us to provide certain information
        to the IRS, the US Treasury, local and state tax authorities and other governmental agencies.
You have a choice in the selection of a mortgage broker, lender, real estate broker or agent and others that make up your
‘transaction team.’ Information flows to and from the members of the transaction team you have selected to facilitate an
efficient transaction for you.
When WFG selects and engages a third-party provider, we limit the scope of the information shared with that third party to
the information reasonably necessary for that service provider to provide the requested services. With most, we have
entered into express agreements in which they expressly commit to maintain a WFG customer’s information in strict
confidence and use the information only for purposes of providing the requested services, clearing title, preventing fraud
and addressing claims under our title insurance policies.

How does WFG use your Information?
We may use your personal information in a variety of ways, including but not limited to:

       Provide the products, services and title insurance you have requested and to close and
        facilitate your transaction.
       Coordinate and manage the appraisal process.
       Handle a claim or provide other services relating to your title insurance policies.
       Create and manage your account.
       Operate and improve WFG’s applications and websites, including WFG MyHome®, WFG’s
        secure communication and transaction portal.             Your information is used for access
        management, payment processing, site administration, internal operations, troubleshooting,
        data analysis, testing, research, and for statistical purposes.
       Respond to your requests, feedback, or inquiries.
       Comply with laws, regulations, and other legal requirements.
       Comply with relevant industry standards and our policies, including managing WFG’s risk
        profile through reinsurance.
       Protect and enforce your rights and the rights of other users against unlawful activity, including
        identity theft and fraud.
       Protect and enforce our collective rights arising under any agreements entered into between
        WFG and you or any other third party;
       Protect the integrity and maintain security of our applications, websites, and products;
       Operate, evaluate, and improve our business; and
       Provide you with information about products, services, and promotions, from WFG or third
        parties that may interest you.
How Do We Store and Protect Your Personal Information?
Although no system can guarantee the complete security of your personal information, we will use our best efforts to
maintain commercially reasonable technical, organizational, and physical safeguards, consistent with applicable law, to
protect your personal information and our systems and sites from malicious intrusions or hacking.

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How Long Do We Keep Your Personal Information?
We keep your personal information for as long as necessary to comply with the purpose for which it was collected, our
business needs, and our legal and regulatory obligations. We may store some personal information indefinitely. If we
dispose of your personal information, we will do so in a way that is secure and appropriate to the nature of the information
subject to disposal.

Computer Information
When you access a WFG website, or communicate with us by e-mail, we may automatically collect and store more
information than you are expressly providing when you fill out a survey or send an email. This may include:
    •   Your IP Address.
    •   Your email address, your alias and, social media handles.
    •   The type of browser and operating system you use.
    •   The time of your visit.
    •   The pages of our site you visit.
    •   Cookies.
In order to provide you with customized service, we make use of Web browser cookies. Cookies are files that help us
identify your computer and personalize your online experience. You may disable cookies on your computer, but you may
not be able to download online documents or access certain sites unless cookies are enabled.
The technical information we collect is used for administrative and technical purposes and to prevent fraud and provide
identity verification. For instance, we may use it to count the number of visitors to our site and determine the most popular
pages. We may also use it to review types of technology you are using, determine which link brought you to our Web site,
assess how our advertisements on other sites are working, help with maintenance, and improve our customers’
experience.
We may compare information gathered on previous visits to verify that we are interacting with the same parties and not a
potential imposter.
If we ask you to fill out any forms or surveys, we will use the information we receive only for the specific purposes
indicated in those forms or surveys.
The information you and your transaction team send us in emails or attached to an email, or provide through any of our
online tools, is used for purposes of providing title, escrow and appraisal management services and used for the purposes
described above.

Links to Third Party Sites
Our Applications and Websites may contain links to third-party websites and services. Please note that these links are
provided for your convenience and information, and the websites and services may operate independently from us and
have their own privacy policies or notices, which we strongly suggest you review. This Privacy Notice applies to WFG’s
applications and websites only.

Do Not Track
Because there is not an industry-standard process or defined criteria to permit a user to opt-out of tracking their online
activities (Do Not Track or DNT), our websites do not currently change the way they operate based upon detection of a
"Do Not Track" or similar signal. Likewise, we cannot assure that third parties are not able to collect information about
your online activities on WFG websites or applications.

Social Media Integration
Our applications, websites, and products contain links to and from social media platforms. You may choose to connect to
us through a social media platform, such as Facebook, Twitter, Google, etc. When you do, we may collect additional
information from or about you, such as your screen names, profile picture, contact information, contact list, and the profile
pictures of your contacts, through the social media platform. The social media platforms may also collect information from
you.
When you click on a social plug-in, such as Facebook's "Like" button, Twitter's "tweet" button or the Google+, that
particular social network's plugin will be activated and your browser will directly connect to that provider's servers. Your
action in clicking on the social plug-in causes information to be passed to the social media platform.




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We do not have control over the collection, use and sharing practices of social media platforms. We, therefore, encourage
you to review their usage and disclosure policies and practices, including their data security practices, before using social
media platforms.

How Can You “Opt-Out?”
We do not sell your information; therefore there is no need to opt-out of such reselling. Under various laws, you can opt-
out of the sharing of your information for more narrow purposes. For additional detail, consult the Links under the “Legal”
Notices attached below.

The “Legal” Notices
To comply with various federal and state laws, we are required to provide more complete legal notices and disclosures. In
reviewing these, you will find that these notices incorporate the definitions and terminology used in the respective privacy
laws which can often be somewhat convoluted and may even seem inconsistent with the descriptions above. The state-
specific statutes may also give residents of those states additional rights and remedies.
Privacy Notice for California Residents - https://national.wfgnationaltitle.com/privacy-notice-california
Privacy Notice for Oregon Residents - https://national.wfgnationaltitle.com/privacy-notice-oregon


                                                    How to Contact Us
If you have any questions about WFG’s privacy policy or how we protect your information, please contact WFG:
        • By email: Consumerprivacy@willistonfinancial.com
        • By telephone: 833-451-5718
        • By fax: 503-974-9596
        • By mail: 12909 SW 68th Pkwy, Suite 350, Portland, OR 97223
        • In-person: 12909 SW 68th Pkwy, Suite 350, Portland, OR 97223


                                           WFG FAMILY
                                  WILLISTON FINANCIAL GROUP LLC
                              WFG NATIONAL TITLE INSURANCE COMPANY
                                    WFG LENDER SERVICES, LLC
                                 WFGLS TITLE AGENCY OF UTAH, LLC
                         WFG NATIONAL TITLE COMPANY OF WASHINGTON, LLC
                            WFG NATIONAL TITLE COMPANY OF CALIFORNIA
            WFG NATIONAL TITLE COMPANY OF TEXAS, LLC D/B/A WFG NATIONAL TITLE COMPANY
                                  UNIVERSAL TITLE PARTNERS, LLC
                                    VALUTRUST SOLUTIONS, LLC
                       WILLISTON ENTERPRISE SOLUTIONS & TECHNOLOGY, LLC
           WFG NATIONAL TITLE COMPANY OF CLARK COUNTY, WA, LLC D/B/A WFG NATIONAL TITLE


Revised 6.12.20




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FACTS                         WHAT DOES WILLISTON FINANCIAL GROUP DO
                              WITH YOUR PERSONAL INFORMATION?
Why?                      Financial companies choose how they share your personal information. Federal law gives
                          consumers the right to limit some but not all sharing. Federal law also requires us to tell you how we
                          collect, share, and protect your personal information. Please read this notice carefully to understand
                          what we do.
What?                     The types of personal information we collect and share depend on the product or service you have
                          with us. This information can include:
                              Social Security number and other government identification information
                              Your name, address, phone, and email
                              Information about the property, any liens and restrictions
                              Financial Information including credit history and other debt
                              Financial account information, including wire transfer instructions.
How?                      All financial companies need to share customers’ personal information to run their everyday
                          business. In the section below, we list the reasons financial companies can share their customers’
                          personal information; the reasons Williston Financial Group chooses to share; and whether you can
                          limit this sharing.
Reasons we can share your personal information                      Does Williston Financial Group share?   Can you limit this
                                                                                                            sharing?
For our everyday business purposes—                                                   Yes                              No
such as to process your transactions, maintain your
account(s), respond to court orders and legal
investigations, or report to credit bureaus
For our marketing purposes—                                                           Yes                              No
to offer our products and services to you
For joint marketing with other financial companies                                    No                       We don’t share
For our affiliates’ everyday business purposes—                                       Yes                              No
information about your transactions and experiences
For our affiliates’ everyday business purposes—                                       No                       We don’t share
information about your creditworthiness
For our affiliates to market to you                                                   No                       We don’t share
For nonaffiliates to market to you                                                    No                       We don’t share
To limit                            Call 833-451-5718—our menu will prompt you through your choice(s)
our sharing                         Visit us online: http://bit.ly/WFGsConsumerPrivacyInformationRequestPage or e-mailing us
                                     at consumerprivacy@willistonfinancial.com
                                    Mail the form below

                              Please note:

                              If you are a new customer, we can begin sharing your information from the date we sent this notice.
                              When you are no longer our customer, we continue to share your information as described in this
                              notice.
                              However, you can contact us at any time to limit our sharing.
Questions?                    Call 833-451-5718 or Email consumerprivacy@willistonfinancial.com
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - - --
Mail-In Form
If you have a joint           Mark any/all you want to limit:
policy, your choices          [ ] Do not share information about my creditworthiness with your affiliates for their everyday
will apply to                     business purposes.
everyone on your              [ ] Do not allow your affiliates to use my personal information to market to me.
account.                      [ ] Do not share my personal information with nonaffiliates to market their products and services to
                                  me.
                              Name                                                                          Mail to:
                              Address                                                                       Williston Financial
                                                                                                            Group
                                                                                                            PRIVACY DEPT
                              City, State, Zip
                                                                                                            12909 SW 68th Pkwy,
                              File Number                                                                   #350
                                                                                                            Portland, OR 97223




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Who we are
Who is providing this notice                            Williston Financial Group, LLC and its affiliates and subsidiaries as
                                                        listed below:
What we do
How does Williston Financial Group protect my           To protect your personal information from unauthorized access and
personal information?                                   use, we use security measures that comply with federal law. These
                                                        measures include computer safeguards and secured files and
                                                        buildings. We limit access to your information to employees that
                                                        need to use the information to process or protect transaction. We
                                                        take industry standard (IPSEC) measures to protect against
                                                        malicious intrusions or hacking

How does Williston Financial Group collect my           We collect your personal information, for example, when you
personal information?                                          Apply for insurance
                                                               Engage us to provide appraisal, title and escrow services
                                                               Give us your contact information
                                                               Provide your mortgage information
                                                               Show your driver’s license

                                                        We also collect your personal information from others, such as real
                                                        estate agents and brokers, mortgage brokers, lenders, credit
                                                        bureaus, affiliates, and others

Why can’t I limit all sharing?                          Federal law gives you the right to limit only
                                                                  sharing for affiliates’ everyday business purposes—
                                                                   information about your creditworthiness
                                                                  affiliates from using your information to market to you
                                                                  sharing for nonaffiliates to market to you
                                                        State laws and individual companies may give you additional rights
                                                        to limit sharing. See below for more on your rights under state law.
What happens when I limit sharing for an account I      Your choices will apply to everyone on your policy.
hold jointly with someone else?
Definitions
Affiliates                                              Companies related by common ownership or control. They can be
                                                        financial and nonfinancial companies.

                                                        Our affiliates include companies with a common corporate identity,
                                                        including those listed below.
Nonaffiliates                                           Companies not related by common ownership or control. They can
                                                        be financial and nonfinancial companies.

                                                        Nonaffilliates we share with can include real estate agents and
                                                        brokers, mortgage brokers, lenders, appraisers, abstractors and title
                                                        searchers and others as appropriate to facilitate your transaction.

Joint marketing                                         A formal agreement between nonaffiliated financial companies that
                                                        together market financial products or services to you.

                                                         Williston Financial Group does not jointly market.
Other important information
As a resident or citizen of certain states, we may have to provide additional state specific privacy notices and you may have
rights other than as set forth above. The links below will provide state specific information:
Privacy Notice for California Residents - https://national.wfgnationaltitle.com/privacy-notice-california
Privacy Notice for Oregon Residents - https://national.wfgnationaltitle.com/privacy-notice-oregon




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ORDER NO. 22-425418

This affidavit when completed is to be signed and notarized, before returning be sure to complete all the requested
information to enable this company to properly process the transaction presently pending.

                                                     AFFIDAVIT

      Re: DEED LACKING MONETARY CONSIDERATION OR UNINSURED/UNESCROWED

With  reference  to  the   deed   from   __________________________________________as        Grantor,   to
______________________________________     as    Grantee,  Dated   __________________      and   recorded
________________________   as   Instrument    No.   ______________________   of   Official   Records    of
__________________ County.

The following questions are answered for the purpose of enabling WFG National Title Insurance Company and/or its
Underwriter to pass upon the sufficiency of said Deed:

1.     Were the Grantor and Grantee related? _____________
       If so state relationship ___________________________

2.     Was the deed a true gift deed? ____________________
       If not, state reason ____________________________________________________________________
       _____________________________________________________________________________________

3.     What is the value of the property? ________________________

4.     Despite the lack of monetary consideration, was there other adequate consideration given for the deed?
       ____________________________
       If so, please explain briefly how consideration was paid:_______________________________
       _____________________________________________________________________________________

5.     Were Federal or State Gift Taxes paid in connection with the above referred to conveyance either by the Grantor
       or Grantee in the deed? _______________

6.     What was the age of the Grantor at the date of signing the deed? _____________________

7.     At the date of signing the deed, what was the Grantor’s physical condition? ___________
       _____________________________________________________________________________________
       What was the Grantor’s mental condition? ______________________________________________

8.     Was the deed actually delivered to the Grantee? _______________________________________

9.     Where has the deed been since it was signed? ____________________________________________

10.    Who is currently occupying the premises located on said land? ________________________

11.    Is the Grantor deceased? ________________________
       If the answer is yes, you will be asked to fill out a supplemental questionnaire.

12.    What are the Grantor’s current physical and mental conditions? _________________________________

13.    Did the Grantee have an agreement to act or was he/she acting as a foreclosure consultant? _________

14.    Was the Grantor facing a foreclosure or serious financial problems (outstanding debt) at the time the deed was
       signed? ________________________________________

15.    Has the Grantor been provided an option to repurchase the property? ________________


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16.      If known, what is the Grantor’s current address and telephone number_________________________________
         _____________________________________________________________________________________

17.      Has the Grantor, to the best of your knowledge, ever filed for bankruptcy, or other debtor relief provisions, under
         the Bankruptcy Laws? ______________if so, when?__________________________ state other facts if
         known_____________________________

18.      If the grantee is taking subject to trust deeds or encumbrances placed on the property by the grantor, explain the
         circumstances for this action_______________________


TITLE ORDER NO. 22-425418                                                               APN NO. 2225-001-043

Dated     _______________________________


Signature __________________________________



A notary public or other officer completing this certificate verifies only the identity of the individual who signed the document to
which this certificate is attached, and not the truthfulness, accuracy or validity of that document.

STATE OF CALIFORNIA
                                                                   }   SS.
COUNTY OF

On ______________________, before me, ______________________________________, a Notary Public, personally appeared
__________________________________________________________________________________________
who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within instrument
and acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies), and that by his/her/their
signature(s) on the instrument the person(s) or the entity upon behalf of which the person(s) acted, executed the instrument.
I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing paragraph is true and correct.
WITNESS my hand and official seal.

Signature __________________________________
           Signature of Notary                                               (This area for official notarial seal)




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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): DEBTOR’S NOTICE OF MOTION AND MOTION
TO AUTHORIZE SALE OF REAL PROPERTY LOCATED AT 6840 DE CELIS PLACE, APT 9, VAN NUYS,
CALIFORNIA 91406, FREE AND CLEAR OF LIENS; MEMORANDUM OF POINTS AND AUTHORITIES,
DECLARATIONS OF ZHAO PU YANG, EMMANUEL D. MARGEN, JR., ANALIE E. MARGEN, DARREN HUBERT,
AND ALPHAMORLAI L. KEBEH, AND REQUEST FOR JUDICIAL NOTICE IN SUPPORT THEREOF will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) October 3, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On October 3, 2022 , I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by causing to be placed a true and correct copy
thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.


                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  October 3, 2022                         Beverly Lew                                           /s/ Beverly Lew
  Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                             ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)
Donna C Bullock on behalf of Interested Party Donna Bullock Carrera
donnabullockcarrera@yahoo.com, donna.bullock@ymail.com

Steven P Chang on behalf of Interested Party Courtesy NEF
heidi@spclawoffice.com,
schang@spclawoffice.com,assistant1@spclawoffice.com,attorney@spclawoffice.com;g9806@notify.cincompass.com;
changsr75251@notify.bestcase.com

Michael F Chekian on behalf of Creditor The Phalanx Group
mike@cheklaw.com, chekianmr84018@notify.bestcase.com

Michael F Chekian on behalf of Interested Party Chekian Law Office, Inc.
mike@cheklaw.com, chekianmr84018@notify.bestcase.com

Heidi M Cheng on behalf of Plaintiff JINZHENG GROUP (USA) LLC
heidi@slclawoffice.com,
assistant1@spclawoffice.com;schang@spclawoffice.com;chenghr75251@notify.bestcase.com

Susan Titus Collins on behalf of Interested Party INTERESTED PARTY
scollins@counsel.lacounty.gov

Nicholas S Couchot on behalf of Creditor Royal Business Bank
ncouchot@buchalter.com, docket@buchalter.com;marias@buchalter.com

Jeffrey W Dulberg on behalf of Creditor Committee OFFICIAL COMMITTEE OF UNSECURED CREDITORS
jdulberg@pszjlaw.com

Oscar Estrada on behalf of Creditor LOS ANGELES COUNTY TREASURER AND TAX COLLECTOR
oestrada@ttc.lacounty.gov

Danielle R Gabai on behalf of Debtor JINZHENG GROUP (USA) LLC
dgabai@danninggill.com, dgabai@ecf.courtdrive.com

Runmin Gao on behalf of Plaintiff JINZHENG GROUP (USA) LLC
ivy.gao@aalrr.com, alicia.mcmaster@aalrr.com

Runmin Gao on behalf of Plaintiff JINZHENG GROUP (USA) LLC
ivy.gao@aalrr.com, alicia.mcmaster@aalrr.com

Richard Girgado on behalf of Interested Party Courtesy NEF
rgirgado@counsel.lacounty.gov

Brian T Harvey on behalf of Interested Party Courtesy NEF
bharvey@buchalter.com, IFS_filing@buchalter.com;dbodkin@buchalter.com

M. Jonathan Hayes on behalf of Interested Party Courtesy NEF
jhayes@rhmfirm.com,
roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;david@rhm
firm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com

Teddy M Kapur on behalf of Creditor Committee OFFICIAL COMMITTEE OF UNSECURED CREDITORS
tkapur@pszjlaw.com, mdj@pszjlaw.com


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Alphamorlai Lamine Kebeh on behalf of Debtor JINZHENG GROUP (USA) LLC
akebeh@danninggill.com

Alphamorlai Lamine Kebeh on behalf of Plaintiff JINZHENG GROUP (USA) LLC
akebeh@danninggill.com

Peter A Kim on behalf of Attorney LAW OFFICES OF PETER KIM
peter@pkimlaw.com, peterandrewkim@yahoo.com

Peter A Kim on behalf of Defendant Betula Lenta Inc
peter@pkimlaw.com, peterandrewkim@yahoo.com

Peter A Kim on behalf of Defendant David Park
peter@pkimlaw.com, peterandrewkim@yahoo.com

Peter A Kim on behalf of Defendant Jonathan Pae
peter@pkimlaw.com, peterandrewkim@yahoo.com

Christopher J Langley on behalf of Plaintiff JINZHENG GROUP (USA) LLC
chris@slclawoffice.com, omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com

Paul J Leeds on behalf of Creditor Sound Equity, Inc.
Pleeds@fsl.law, ssanchez@fsl.law

Benjamin R Levinson, ESQ on behalf of Creditor Michael E. Dorff and Shari L. Dorff
ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com

Damian J. Martinez on behalf of Plaintiff JINZHENG GROUP (USA) LLC
damian.martinez@aalrr.com, julissa.ruiz@aalrr.com

Damian J. Martinez on behalf of Plaintiff JINZHENG GROUP (USA) LLC
damian.martinez@aalrr.com, julissa.ruiz@aalrr.com

Eric A Mitnick on behalf of Creditor Corona Capital Group LLC
MitnickLaw@aol.com, mitnicklaw@gmail.com

Eric A Mitnick on behalf of Interested Party Courtesy NEF
MitnickLaw@aol.com, mitnicklaw@gmail.com

Giovanni Orantes on behalf of Other Professional Orantes Law Firm, P.C.
go@gobklaw.com, gorantes@orantes-
law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.bestcase.com

Donald W Reid on behalf of Interested Party INTERESTED PARTY
don@donreidlaw.com, ecf@donreidlaw.com

Matthew D. Resnik on behalf of Attorney Matthew Resnik
matt@rhmfirm.com,
roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.com;pardis@r
hmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com

Matthew D. Resnik on behalf of Creditor Royalty Equity Lending, LLC/Bobs LLC
matt@rhmfirm.com,
roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.com;pardis@r
hmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com

Matthew D. Resnik on behalf of Interested Party Courtesy NEF

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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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